     Case 2:24-cv-03998-FLA-E Document 1 Filed 05/13/24 Page 1 of 146 Page ID #:1
          S/I
                                            FEE PAID
 1     Pastor LB Brena
 2
       2338 Pasadena Avenue                                                FILED
                                                                 CLERK, U.S. DISTRICT COURT

       Long Beach, CA. 90806
 3     Pastorlbl9@gmail.com                                             5/13/24
                                                               CENTRAL DISTRICT OF CALIFORNIA
 4                                                                         eee
                                                                 BY: ___________________ DEPUTY

       MS Blackwell
 5     16129 Hawthorne Blvd., D377
 6     Lawndale, California 90260
       Msblackwell3000#gmail.com
 7

 8     Plaintiffs in Propria Persona
 9

10
                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
11

12     Pastor LB Brena, MS Blackwell, Jane          Case No.
       Doe, and John Doe,
13
                              Plaintiffs,              2:24-cv-03998-FLA-E
14

15       vs.                                        VERIFIED COMPLAINT

16     McCalla Raymer Leibert Pierce and
17     Nabeel Zuberi, Mark Domeyer, and their
       employee Kyle Dillon, Mike Potier of
18
       Boardwalk Properties, SPS and SPS REO,
19     and their employee Christopher Plantier,
       Marcos Ramirez of XMRX Corporation,
20
                                        , First
21     American Title, and DOES 1 to 10,               Demand Jury Duty
22
        inclusively,

23                             Defendants.
24

25

26

27

28


                                       VERIFIED COMPLAINT                                     1
     Case 2:24-cv-03998-FLA-E Document 1 Filed 05/13/24 Page 2 of 146 Page ID #:2




 1                                            COMPLAINT
 2
       1.       Plaintiffs Pastor LB Brena, MS. Blackwell, Jane Doe, and John Doe,
 3
                                  ), submit this complaint for federal civil rights violations.
 4

 5     The Plaintiffs allege that the Defendants McCalla Raymer Leibert Pierce, LLP., their
 6
       employees and attorneys Nabeel Zuberi, Mark Domeyer, and Kyle Dillon, Mike
 7

 8

 9     unlawfully and maliciously interfered with Plaintiffs interest in the real property
10
       located at 2336, 2338 1, 2, and 3, Pasadena Ave, Long Beach, California 90806
11

12          -
13

14

15
       dwelling is located on the MI-Property and is owned by a collective group of Miricle

16

17
       2.       This case could have been initiated from the District court by Defendants due
18

19     to the fact this is a title matter and not an unlawful detainer action. Plaintiffs are not
20
       renter of Defendants but duly noticed and legal title holders of the subject Property
21

22
       and have been since June of 2016.

23     3.       Plaintiffs assert that the Defendants do not and did not have a valid contract or
24
       title to subject Property, and claim that Defendants actions, and each of them,
25

26     including wrongful eviction, violated the constitutional rights of Plaintiffs, and each
27
       of them, requiring injunctive relief and declaratory judgment to restore their rights,
28


                                          VERIFIED COMPLAINT                        2
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 1     restore their property, and to claim damages as pursuant to 42 U.S.C. §1983.
 2
       Plaintiffs allege that they hold rightful title to subject Property, and that Defendants
 3

 4     engaged in systemic racial discrimination in property ownership which is in violation
 5     of 42 U.S.C. §§ 1981 and 1982. This is a title case.
 6
       4.    Plaintiffs argue that Defendants breached federal statutes, including the Federal
 7

 8     Fair Debt Collection Practices Act (15 U.S.C. §§ 1692-
 9
       Fair Debt Collection Practices Act (Civil Code §§ 1788 et seq.), and the Civil Rights
10

11
       Act of 1964, as Defendants do not hold legal or equitable title to subject Property

12     despite initiating an improper trustee sale and wrongfully evicting Plaintiffs.
13
       5.    Plaintiffs further allege that without a valid contract or proper title, Defendants
14

15     actions constitute conversion, abuse of process, malicious prosecution, and tortious
16
       interference. Plaintiffs seek an injunction and a declaration that the conversion and
17

18
       eviction were unlawful, and request injunctive relief to restore their rights and

19     possession of subject Property and prevent further violations.
20
       6.    Plaintiffs contend that if Defendants are considered state actors under the state
21

22     action doctrine, the Limited Court and the Sheriff's Department should be subject to
23
       constitutional scrutiny and potential liability for these alleged violations as should any
24
       and all legal professionals involved in this matter.
25

26

27

28


                                        VERIFIED COMPLAINT                        3
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21

22

23

24

25

26

27

28


                                    VERIFIED COMPLAINT                  4
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 1                                     FEDERAL QUESTION
 2
       7.    This action arises under the laws of the United States pursuant to 28 U.S.C. §
 3

 4     1331, which provides federal jurisdiction over cases involving the U.S. Constitution
 5     and federal statutes. Plaintiffs assert that Defendants have violated their civil rights, as
 6
       protected by 42 U.S.C. § 1983, through the wrongful and malicious execution of
 7

 8     eviction proceedings, lacking rights, proper legal standing, notice, and transparency.
 9
       8.    Defendants conduct also includes continuous harassment and intimidation
10

11
       surrounding an alleged mortgage debt not owed by Plaintiffs, and each of them, which

12     is in violation of the Federal Fair Debt Collection Practices Act (15 U.S.C. §§ 1692-
13

14

15     1788 et seq.). Defendants actions, encompassing improper trustee sale proceedings,
16
       the recent reselling of subject Property, harassment, threats of eviction, wrongful
17

18
       eviction, and failure to comply with federal mail regulations (18 U.S.C. § 1725),

19     collectively constitute a deprivation of Plaintiffs rights under the Due Process and
20
       Equal Protection Clauses of the Fourteenth Amendment.
21

22     9.    The improper trustee sale proceedings has led to a genuine title dispute,
23
       between the parties, with Defendants wrongfully claiming ownership or possession of
24
       subject Property, which Plaintiff Brena and MIc rightful own and have occupied since
25

26     June of 2016, violating Plaintiffs federally protected rights to due process and
27
       property ownership.
28


                                         VERIFIED COMPLAINT                        5
     Case 2:24-cv-03998-FLA-E Document 1 Filed 05/13/24 Page 6 of 146 Page ID #:6




 1     10.    These acts by Defendants infringe upon Plaintiffs federally protected rights,
 2
       necessitating judicial intervention to prevent further injustices and rectify the harms
 3

 4     caused by this improper title dispute.
 5     11.    Plaintiffs seek relief under federal jurisdiction due to Defendants clear
 6
       violations of federal civil rights laws, emphasizing the need for enforcement of 42
 7

 8     U.S.C. § 1983 and related statutes.
 9
                                      JURISDICTION AND VENUE
10

11
       12.    This court has jurisdiction under 28 U.S.C. § 1331 as the claims arise under

12     federal law. Supplemental jurisdiction is available under 28 U.S.C. § 1367 for related
13
       state law claims, as they share a common nucleus of facts with the federal claims and
14

15     are part of the same case or controversy under Article III of the U.S. Constitution.
16
       13.    Plaintiffs reserve the right to amend and assert additional claims under
17

18
       California civil rights and consumer protection statutes, as well as other state laws

19     against deceptive trade practices.
20
                                                PARTIES
21
       Plaintiffs
22
             14.
23

24     Citizen of California, a senior member of a special collective group of Miricle Island
25
       community (MICg) formed within the MI Community, and a legal title holder of the
26

27
       MI-Property which includes subject Property; they along with certain members of

28


                                        VERIFIED COMPLAINT                        6
     Case 2:24-cv-03998-FLA-E Document 1 Filed 05/13/24 Page 7 of 146 Page ID #:7




 1                                                                                           and
 2
       2338 1, 2, and 3 Pasadena Avenue, California 90806.
 3

 4     15.
 5     of California and resides in the state of California at 16129 Hawthorne Boulevard,
 6
       California 90260.
 7

 8     16.                          Plaintiffs
 9
       set forth, is intended to include, both jointly and severally, all named Plaintiffs
10

11

12     Defendants
13
       17.   At all times hereto relevant, Defendant McCalla Raymer Leibert and Pierce,
14

15

16

17

18
       debt collector organized under the laws of the State of Georgia, with a principal place

19     of business at 1544 Old Alabama Rd, Roswell, Georgia, 30076.
20
       18.                                                                              BRE#
21

22     00936002 is a professional property realtor with Boardwalk Properties and an agent
23
       for SPS REO, being sued in his personal and professional capacity, with a principal
24
       place of business Boardwalk Properties located at 5000 E Spring Street #130, Long
25

26     Beach, CA 90815.
27
       19.
28


                                         VERIFIED COMPLAINT                        7
     Case 2:24-cv-03998-FLA-E Document 1 Filed 05/13/24 Page 8 of 146 Page ID #:8




 1     professional property realtor BRE# 01339740 for Pacific Estates Keller Williams and
 2

 3

 4     professional capacity, with a principal place of business Pacific Estates Keller
 5     Williams and XMRX. located at 2883 E Spring Street #100, Long Beach, CA 90806.
 6
       20.   At all times hereto relevant, Defendant Los Angeles Sheriff's Department
 7

 8

 9
       the State of California, and an agent for Defendant Limited Court. The LASD is
10

11
       responsible for the service and execution of Court ordered writ of possessions within

12     the City of Long Beach, located at 275 Magnolia Avenue, 4th Floor Long Beach,
13
       California 90802.
14

15     21.   At all times hereto relevant, Defendant First American Title Company
16
       (         ) title company, organized under the laws of the State of California, with
17

18
       a principal place of business at 4 First American Way Santa Ana, California 92707.

19     22.   Plaintiffs are unaware of the true names and capacities of individuals and
20
       entities sued herein under the fictitious names of Does 1 through 10, inclusive or, to
21

22     the extent that the names of such individuals or entities may be known to Plaintiffs.
23
       23.   Plaintiffs cannot state with certainty that a viable cause of action lies, herein as
24
       against such individuals or entities, or Plaintiffs are unable to allege the elements of
25

26     such a cause of action, at this time, prior to discovery.
27
       24.                          Defendants                                     Complaint,
28


                                         VERIFIED COMPLAINT                       8
     Case 2:24-cv-03998-FLA-E Document 1 Filed 05/13/24 Page 9 of 146 Page ID #:9




 1     unless specifically otherwise set forth, is intended to include, and charge both jointly
 2
       and severally, not only named Defendants, but all Defendants, designated as well
 3

 4

 5                                           INTRODUCTION
 6
       25.   Claim of rights, under the Doctrine of Precedent, Plaintiffs claim all rights and
 7

 8     seek protection under the Doctrine of Precedent (See Anastasoff v. U.S., 223 F3d 898).
 9
       Plaintiffs request the court's judicial notice of principles stated in King v. Knoll,
10

11
       Whitney v. State of New Mexico, Haines v. Kerner, and Platsky v. Central Intelligence

12     Agency.
13
       26.   Plaintiffs emphasize that Pro Se and Pro Per litigants are not held to the same
14

15     strict pleading standards as Bar-authorized attorneys and have the right to submit
16
       evidence for adjudication.
17

18
       27.   Plaintiffs assert the right to receive curative instructions and sufficient time to

19     refile if their claims are dismissed by the court. Plaintiffs claim the substantive Due
20
       process right to have Findings of Fact and Conclusions of Law published with any
21

22     order of the Court.
23
       28.   This case could and should have been initiated from this District court by
24
       Defendants due to the fact this is a title matter and not an unlawful detainer action.
25

26     29.   Plaintiffs question Defendants legal right to interact or interfere with their
27
       interest in the subject property at issue here, located on a portion of the following lot:
28


                                        VERIFIED COMPLAINT                        9
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 1              LOT 8 OF TRACT NO. 3463, 7208-017-009 IN THE CITY
 2
                OF LONG BEACH, COUNTY OF LOS ANGELES,
                STATE OF CALIFORNIA, AS PER MAP RECORDED
 3              IN BOOK 38 PAGE 51 OF MAPS, IN THE OFFICE OF
 4              THE COUNTY RECORDER OF SAID COUNTY.
 5   30.   There is no contractual relationship establishing the doctrine of Privity of
 6
     Contract between the Plaintiffs and Defendants, rendering Defendants and the former
 7

 8   trustor unable to act.
 9
     31.   This complaint arises from a protracted legal battle over the rightful possession
10
     and ownership of subject property, a dispute marred by a series of and including
11

12   alleged improper trustee sale, several evictions, and multiples of civil rights
13
     violations.
14

15   32.   Plaintiffs bring this action against Defendants, seeking redress for a series of
16
     egregious and unlawful actions that have deprived Plaintiffs of their rights and caused
17
     substantial harm.
18

19   33.   This case arises from a sequence of events also involving improper trustee sale,
20
     eviction, and ongoing harassment perpetrated by Defendants, which have resulted in
21

22   significant violations of federal law and civil rights and duress.
23   34.   Plaintiffs assert claims under federal law, including but not limited to violations
24
     of civil rights under 42 U.S.C. §1983 and potential breaches of the Fair Debt
25

26   Collection Practices Act (FDCPA), and
27
     Practices Act.
28


                                      VERIFIED COMPLAINT                       10
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 1   35.   Defendants conduct included harassment, threats with 11 post foreclosure
 2
     eviction actions, 5 notices and writs to vacate served by several LA County Sheriffs
 3

 4   (Levying Officers) for evictions, and the limited court stated improper trustee sale
 5   actions, all of which have caused severe distress and injury to Plaintiff Brena and the
 6
     ministry community group she has been entrusted to oversee.
 7

 8   36.   At the heart of this conflict are the 11 frivolous and malicious post foreclosure
 9
     eviction actions filed by Defendants, 6 cases in 2019, to include case numbers:
10

11
     19lbud01412, 19lbud01642, 19lbud01650, 19lbud01651, 19lbud01674, and

12                                      -Cases''); and the refiling of the cases in 2022, case
13
     numbers: 22lbud01600, 22lbud01631, 22lbud01762, 22lbud01781, and 22lbud01792
14

15                        -                                                         has led to
16
     several adverse judgments, in favor of Plaintiffs and others in the favor of Defendants,
17

18
     all within the same Department of the Limited Court

19   37.   Defendants actions have interfered with Plaintiffs federally protected rights and
20
     privileges, warranting relief under federal jurisdiction pursuant to 28 U.S.C. § 1331.
21

22   This Introduction serves to outline the pervasive nature of Defendants malicious and
23
     unlawful conduct and the urgent need for federal intervention to secure justice and
24
     protect Plaintiffs fundamental rights.
25

26   38.   Defendants relentless litigation efforts, despite previous court rulings and the
27
     application of the doctrine of stare decisis and Res Judacata, have culminated in the
28


                                     VERIFIED COMPLAINT                        11
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 1

 2
     well-being. Particularly egregious were Defendants, and each of them, complete
 3

 4   disregard for the legal outcomes favorable rulings for the Plaintiffs, including the
 5   dismissal of cases based on improper trustee sale and the wrongful and malicious
 6
     judgment as well as execution of writ of possession.
 7

 8   39.   These actions have caused emotional and financial harm to Plaintiffs and the
 9
     residents of subject Property and raises serious questions regarding Defendants respect
10

11
     for legal procedures.

12   40.   Plaintiffs rights to property owners and occupants under the Homeowners Bill
13
     of Rights, the US Constitution, the Protecting Tenants at Foreclosure Act (PTFA),
14

15   and other applicable federal civil rights laws.
16
     41.   This complaint seeks redress for Plaintiffs, aiming to halt Defendants
17

18
     continuous and baseless legal harassment in the Limited Superior Court, rectify the

19   wrongful evictions, and address the significant civil rights violations that have
20
     occurred.
21

22   42.   Plaintiffs request that this Court recognize the egregious nature of Defendants
23
     actions, the substantial harm inflicted upon Plaintiffs, and each of them, along with
24
     MICg, and provide just relief that restores Plaintiffs rights, possession, and peace of
25

26   mind regarding the Property.
27
     43.   This case centers on malicious and unlawful actions, unfair debt collection, and
28


                                      VERIFIED COMPLAINT                      12
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 1   persistent harassment of Plaintiffs following property title disputes.
 2
                                     FACTUAL BACKGROUND
 3

 4   44.   This complaint arises from a series of disputed legal actions, property
 5   management disputes, and alleged violations of federal and state law related to the
 6
     subject property.
 7

 8   45.   Plaintiffs, acting individually and severally, set forth the following background
 9
     history to support the claims for relief.
10

11
     46.   These actions are rooted in convoluted transactions and legal proceedings

12   concerning subject property, beginning with the former trustor (Blackwell) of subject
13
     property, in certain proceedings.
14

15   47.   In June of 2016, one of the founding members of MICg, acquired subject
16
     property from Blackwell, who offered a notarized warranty deed after quieting title
17

18
     judgment on subject Property, which was duly recorded with the County

19

20
     48.   From 2016 to present, MICg engaged in community activities without property
21

22   loans, just community funding.
23
     49.   In June of 2018, an intervenor was created by Wells Fargo Bank on behalf of
24
     Morgan Stanley ABS Capital 1, Inc. Trust 2005-WMC6 Mortgage Pass-Through
25

26   Certificates, Series 2005-                  -
27
                                                                                     See a true
28


                                      VERIFIED COMPLAINT                      13
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 1   copy of QT Judgment as Exhibit 1).
 2
     50.
 3

 4   (Potier) began harassing MICg members and trespassing on subject Property which is
 5   legally owned by Plaintiff Brena, with eviction threats to then the filing of multiple
 6
     unlawful detainer actions, 11 cases in total, starting with case 19LBUD01412 and
 7

 8   relitigated in case 22LBUD01781. (See copies of cases as Exhibit 2 and 3).
 9
     51.   Despite legal victories for certain members of MICg, the harassment and
10

11
     intimidation continued with verbal threats, improper legal document process servicers,

12   who made several trips to the property despite being told the person they were looking
13
     for did not live on premises.
14

15   52.   These actions disrupted operations of MICg, which violated Plaintiffs civil
16
     rights, including due process and fair housing protections. This case aims to address
17

18
     abusive conduct and obtain remedies for harm inflicted on Plaintiffs and its members.

19   53.   Following Blackwell's bankruptcy discharge, she pursued various legal avenues
20
     to address subject property-related issues, including initiating Quiet Title actions in
21

22   both state and federal courts. (See
23
     54.   Subject Property underwent a change in ownership following Blackwell being
24
     granted quiet title judgment against Defendants. Blackwell transferred all title rights to
25

26   MICg, made up of Plaintiff Pastor LB Brena (Pastor) dedicated to the mission of and
27
     on behalf of MICg members. (See
28


                                      VERIFIED COMPLAINT                       14
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 1         I. Initial Disputes and Legal Actions (UD19 and UD22 Cases)
 2
     55.   The origin of the current dispute traces back to a series of unlawful detainer
 3

 4   actions initiated in 2019 and 2022, known collectively as UD19 and UD22 cases.
 5   56.   These actions were precipitated by an alleged improper trustee sale conducted
 6
     by Defendants against Blackwell's bankruptcy filing and subsequent legal proceedings
 7

 8   that purportedly cleared of title to subject Property, Defendants pursued multiple
 9
     evictions based on a claimed right of possession that was legally contested and
10

11
     ultimately found lacking in merit by state courts.

12   57.   These events, in 2022, Defendants initiated a new series of legal actions,
13
     dubbed the UD22 cases, against various defendants including Plaintiffs, in a continued
14

15   effort to assert control over the MI-Property. These actions were characterized by the
16
     Plaintiffs as a re-litigation of previously resolved disputes, raising concerns of
17

18
     vexatious litigation and improper attempts to dispossess the Plaintiffs of the Property.

19         II. The Impact of COVID-19 and Continued Legal Challenges
20
     58.   The global COVID-19 pandemic introduced further complexities, halting
21

22   eviction proceedings and introducing a temporary stay on enforcement actions. During
23
     this period, the Plaintiffs allege that Defendants engaged in a pattern of behavior
24
     aimed at circumventing legal protections and exploiting the pandemic's chaos to
25

26   strengthen their claim to the Property. Notably, an improper trustee sale was
27
     purportedly conducted after quiet title judgment removing any lien(s) held by
28


                                      VERIFIED COMPLAINT                       15
 Case 2:24-cv-03998-FLA-E Document 1 Filed 05/13/24 Page 16 of 146 Page ID #:16




 1   Defendants, and each of them, or their predecessor-in-interest, against a party who
 2
     did not hold legal title at time of sale, did so without proper notice or legal
 3

 4   justification to legal title holder(s), leading to significant financial and operational
 5   disruptions Plaintiffs.
 6
           III. Recent Developments and Federal Claims
 7

 8   59.   In the most recent chapter of this ongoing title dispute, as of 2023 regarding
 9
     UD22 cases, saw Defendants secured summary judgment against a non-title holding
10

11
     party and Plaintiffs, on the basis of a declaratory judgment collecting a debt against a

12   non-title holder.
13
     60.   During all 11 UD cases, Defendant's efforts were met with vigorous opposition
14

15   by Plaintiffs who highlighted procedural irregularities, the misuse of judicial notice,
16
     and the disregard of established legal principles such as stare decisis by the courts
17

18
     involved. Despite these challenges, Defendants secured judgments that the Plaintiffs

19   contend were based on factual inaccuracies, legal errors, and a fundamental
20
     misunderstanding of subject Property's ownership and occupancy status.
21

22   61.   Compounded by enforcement actions that targeted incorrect addresses and a
23
     lack of procedural fairness, these judicial decisions have precipitated the current
24
     federal complaint. Plaintiffs assert claims under the Federal Fair Debt Collection
25

26

27
     Act, alleging violations of civil rights, and seek redress for what they describe as a
28


                                       VERIFIED COMPLAINT                        16
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 1   persistent pattern of harassment, discrimination, and unlawful attempts to dispossess
 2
     them of the Property.
 3

 4   62.    MICg founded by Miricle Island ministry members, emerged as a community-
 5   oriented organization dedicated to religious activities, fundraising, and outreach
 6
     efforts.
 7

 8   63.    In June of 2016, a founding member of Miricle Island ministry acquired
 9
     property crucial for the ministries operations through a legitimate transaction
10

11
     facilitated by Blackwell who had quieted the title and obtained a judgment affirming

12   the property transfer via a duly recorded Warranty Deed. (See a true copy of Warranty
13
     Deed attached as Exhibit 4). Blackwell had clear and marketable title to the entire
14

15   property (MI-Property), specifically subject property.
16
     64.    Pastor was appointed to oversee and head the new acquisition and given full
17

18
     entitlement acting as a founding member and pastor of the newly formed MICg.

19   65.    From 2016 to 2019, MICg has actively engaged in various charitable activities,
20
     including fundraising initiatives, worship gatherings, and outreach programs to
21

22   support homeless individuals within the community. Notably, during this period,
23
     MICg operated without resorting to loans against the property, demonstrating
24
     responsible stewardship of their assets.
25

26   66.    In June 2018, Defendants through their alleged servicing agent and attorney in
27
     fact, SPS, under a scheme of fraud, portrayed entities known as: Wells Fargo Bank,
28


                                     VERIFIED COMPLAINT                       17
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 1   N.A., as Trustee in trust for the registered holders of Morgan Stanley ABS Capital 1,
 2
     Inc. Trust 2005-WMC6 Mortgage Pass-Through Certificates, Series 2005-WMC6
 3

 4            -       Wells Fargo Bank, N.A., as Trustee on behalf of the registered
 5   holders of Morgan Stanley ABS Capital 1, Inc. Trust 2005-WMC6 Mortgage Pass-
 6
     Through Certificates, Series 2005-WMC6                -              trustee sale
 7

 8   proceedings on subject Property by hiring a trustee sale attorney and debt collector,
 9

10

11
     67.   WFBT-2 purportedly claimed to be the highest bidder at the trustee sale

12   auction. (See a true copy of Deed Upon Sale attached as Exhibit 5). This sale was
13
     commenced without a lien or any deed of trust being on subject Property at the time.
14

15   68.   This scheme of fraud was done despite MICg having a duly recorded Warranty
16
     Deed on and for subject Property at the time of the trustee sale. Despite obtaining a
17

18

19   quiet title judgment or vacate the rightful and legal transfer of title to MICg and its
20
     Pastor, Plaintiff Brena.
21

22   69.   This background history serves to contextualize the subsequent legal actions
23
     pursued by Plaintiffs seeking redress for the unlawful conduct and discriminatory
24
     practices inflicted upon them by Plaintiffs..
25

26   70.   The persistent pattern of discriminatory practices of Defendants, and each of
27
     them, have created a climate of abuse and unjust treatment aimed at undermining the
28


                                      VERIFIED COMPLAINT                       18
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 1   rights and activities of Pastor, MICg and their members.
 2
     71.   On or about May 2023 judgment was granted as to all named defendants in the
 3

 4

 5   answered them and was the only named defendant in said cases who received
 6
     judgment. AL was neither an owner nor title holder of subject Property, nor were they
 7

 8   a representative of the entire MICg or Pastor.
 9
     72.   Although the named and unnamed defendants in these UD cases did not
10

11
     respond, enter the cases nor were they properly defaulted, they all received judgments

12   against said cases (UD19 and UD22 cases), and possession of subject Property was
13
     granted to Defendants.
14

15                                  NATURE OF CLAIMS
16
     CAUSES SPECIFIC FACTS TO OVERALL SCHEME OF FRAUD:
17

18
     72.   I: The scheme of fraud alleged in this FDCPA § 1692 cause of action involves

19   Defendants MRLP, SPS and Christopher Plantier, and others engaging in deceptive
20
     debt collection practices. They disseminated false information about resolved debts
21

22   during unlawful detainer actions and eviction proceedings despite lacking valid title
23
     or standing. (See a copy of MRLP Unlawful detainer action and declaration of
24
     Christopher Plaintier attached as Exhibits 6). Defendants conducted an improper
25

26   trustee sale in June 2018 without a valid mortgage obligation, demonstrating malicious
27
     debt collection efforts. Defendant MRLP violated FDCPA § 1692e by misleadingly
28


                                     VERIFIED COMPLAINT                      19
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 1   representing debt status, coercively impacting Plaintiffs' rights. This scheme includes
 2
     false dissemination of debt information and improper debt collection tactics, all aimed
 3

 4   at unlawfully coercing Plaintiffs to pay or surrender subject Property.
 5   73.   II: The alleged scheme of fraud in this legal action encompasses both Federal
 6
     Statutes and Constitutional claims involving various Defendants. This includes a
 7

 8   State Actor Hon. judge and Defendants MLRP, who are accused of retaliating against
 9
     the Plaintiffs' exercise of free speech rights. They purportedly issued threats and
10

11
     conducted harassment to suppress opposition to foreclosure and eviction processes,

12   thereby violating the Plaintiffs' First Amendment protections. Additionally, the
13
     scheme suggests a deliberate effort by these Defendants to intimidate and silence
14

15   the Plaintiffs through unlawful means, abusing their positions and authority to stifle
16
     legitimate expression of rights and opposition to their actions. Furthermore, the
17

18
     allegations involve other parties (such as SPS, WFB/, TWF, and related agents)

19   engaging in a separate deliberate scheme. This scheme unlawfully dispossessed and
20
     interfered with the Plaintiffs' contractual rights over the property. It includes initiating
21

22   multiple unlawful detainer actions without valid contractual rights or title, obtaining
23
     judgments through false statements to the court, engaging in predatory real estate
24
     actions to unlawfully seize property, and clouding the Plaintiffs' ownership rights
25

26   through fraudulently created documents and misrepresentations. These actions
27
     collectively resulted in severe financial losses, reputational damage, and emotional
28


                                       VERIFIED COMPLAINT                        20
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 1   distress for the Plaintiffs, highlighting a calculated effort to deceive and harm them
 2
     through fraudulent means.
 3

 4   74.   III: Scheme of Frauds, Slander of Title, Tortious Interference. Plaintiffs are
 5   pursuing claims against Defendants for a deliberate scheme to unlawfully dispossess
 6
     and interfere with their contractual rights at 2336, 2338 1, 2 & 3 Pasadena Ave,
 7

 8   Long Beach, CA 90806, where Defendants initiated improper foreclosure proceedings,
 9
     unlawful detainer actions, and evictions without valid property title, using false
10

11
     statements and fabricated documents to deceive the court and gain control over the

12   property, thereby causing severe harm and financial losses to Plaintiffs, who seek
13
     injunctive relief and compensatory and punitive damages to rectify the extensive harm
14

15   caused by Defendants fraudulent actions.
16
     75.   IV: The scheme of fraud alleged pursuant to 42 U.S.C. §1983 cause of action
17

18
     involves Defendants, including a judge, MRLP, Zubari, Domeyer, and Dillon, LASD,

19   and others, accused of civil rights violations. Plaintiffs claim these defendants engaged
20
     in discriminatory conduct under color of state law within the Long Beach Superior
21

22   Court jurisdiction. Allegations include issuing baseless eviction threats, unlawful
23
     property seizures, and discriminatory enforcement tactics based on Plaintiffs
24
     religious affiliation and community status. These actions are said to violate Plaintiffs
25

26   constitutional rights to equal protection and due process, suggesting a systematic
27

28


                                     VERIFIED COMPLAINT                       21
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 1   abuse of authority for discriminatory purposes, targeting Plaintiffs based on protected
 2
     characteristics.
 3

 4   76.      V: The scheme of fraud alleged in this cause of action under 18 U.S.C. §1725
 5   and 42 U.S.C. §1983 involves the Los Angeles Sheriff's Department (LASD) and its
 6
     officers. Plaintiff Brena accuses them of civil rights violations and breaches of federal
 7

 8   mail regulations. Defendants deposited a Writ of Possession into the postal mailbox
 9
     without prior service on Plaintiffs, causing significant emotional distress and
10

11
     community trust erosion. Plaintiffs seek redress for this unconstitutional practice,

12   including a declaration of wrongdoing, injunction against future violations,
13
     compensation for damages, and injunctive relief. This scheme suggests deliberate
14

15   disregard for legal procedures, leading to emotional harm and erosion of community
16
     trust.
17

18
     77.      VI: Civil Rights Declaratory Judgment (42 U.S.C. §1983): The scheme alleged

19   in this cause of action under Civil Rights Declaratory Judgment (42 U.S.C. §1983)
20

21

22   lacked valid title to initiate trustee sales or maintain unlawful detainer actions. This
23
     led to wrongful evictions and disruptions of community activities following a property
24
     transfer in June 2016 and a subsequent non-judicial foreclosure orchestrated by SPS
25

26   in June 2018 in Pasadena, CA. Plaintiffs claim that these defendants, acting under
27
     color of state law, engaged in discriminatory conduct violating Plaintiffs rights to
28


                                      VERIFIED COMPLAINT                        22
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 1   equal protection and due process under the Fourteenth Amendment. The scheme seeks
 2
     to rectify constitutional violations and safeguard civil liberties against further unlawful
 3

 4   state actions through declaratory and injunctive relief, along with compensatory
 5   damages.
 6
     78.    VII: The scheme alleged in this Declaratory and Injunctive Relief action
 7

 8   involves Defendants, including unnamed defendants (Does 1-10), initiating unlawful
 9
     detainer actions for eviction without lawful authority after a quiet title order was
10

11
     obtained by Plaintiff Blackwell in 2016. This action prompted a controversy over

12   ownership and possession of the property, requiring a judicial determination of the
13
     plaintiffs' rights, obligations, and interests to confirm their sole title ownership
14

15   established through the quiet title order. Plaintiffs seek declaratory relief confirming
16
     sole title ownership by MICg and a permanent injunction restraining defendants from
17

18
     asserting any estate, right, title, or interest in the subject Property based on the quieted

19   title and transfer.
20
     79.    VIII: The scheme alleged in this Application for Temporary Restraining Order
21

22   involves Defendants collectively engaging in ongoing and imminent actions within
23
     California that threaten immediate and irreparable harm to the plaintiff's rights and
24
     interests related to the subject property. This includes unlawfully attempting to take
25

26   possession of, alter, or sell the property and disrupting Plaintiff's peaceable possession
27
     and enjoyment, driven by motives to interfere with Plaintiff's possession and
28


                                       VERIFIED COMPLAINT                        23
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 1   community services. The evidence includes multiple (11) unlawful eviction actions
 2
     over a 5-year span and property alterations and a sale, which, if allowed to continue,
 3

 4   will result in irreparable harm including loss of property rights, financial losses, and
 5   emotional distress. Plaintiff seeks an immediate Temporary Restraining Order to halt
 6
     these unlawful actions pending further legal proceedings.
 7

 8
                             CAUSES Of ACTION FOR RELIEF
 9

10                                               I.
11
                   Violations of Federal Fair Debt Collection Practices Act
12                15 U.S.C. §§ 1692-
13                    Collection Practices Act Civil Code §§ 1788 et seq.
14
     80.   Plaintiffs repeat and reallege each allegation contained in paragraphs 1 79 of
15
     this Complaint.
16

17   81.   Plaintiff Brena, as a rightful owner protected under the Fair Debt Collection
18
     Practices Act (FDCPA), 15 U.S.C. §§ 1692-1692p, and the Rosenthal Fair Debt
19

20   Collection Practices Act (Cal. Civ. Code §§ 1788 et seq.), asserts that Defendants
21   engaged in prohibited acts under these statutes. Defendants made false representations
22
     regarding outstanding debts on the property, which were resolved through prior court
23

24   judgments, leading to unlawful actions such as trustee sale attempts and eviction
25
     proceedings.
26

27
     82.   Plaintiffs bring claims against Defendants MRLP, SPS, and Document control

28   clerk Christopher Plantier for engaging in deceptive debt collection practices,

                                      VERIFIED COMPLAINT                       24
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 1   including disseminating false information about resolved debts during multiple
 2
     unlawful detainer actions and eviction proceedings in the Limited Superior Court.
 3

 4   Defendants pursued these actions despite lacking valid title or standing to do so.
 5   83.   Defendants conducted a wrongful trustee sale in June 2018 without a valid
 6
     mortgage obligation, leading to an improper transfer of property rights and targeted
 7

 8   harassment of MICg members, thus contravening specific provisions of California
 9
     property laws.
10

11
     84.   Defendants falsely claimed that Plaintiffs owed debts on the property, which had

12   already been resolved by court judgments. These false claims resulted in unauthorized
13
     actions against Plaintiffs, including 11 unlawful detainer actions, demonstrating a lack
14

15   of valid title, or standing by Defendants.
16
     85.   Plaintiffs bring this action for violations of the FDCPA (15 U.S.C. §§ 1692-
17

18
     1692p) and Rosenthal Act (Cal. Civ. Code §§ 1788 et seq.) against Defendants MRLP,

19   SPS, Document control clerk Christopher Plantier, and DOES 1-10, based on specific
20
     instances of deceptive debt collection practices and false representations.
21

22   86.   Plaintiffs were targeted in wrongful trustee sale proceedings orchestrated by
23
     Defendants, including state actors such as the Judge and non-state actors like SPS,
24
     Mike Portier (Potier), and The Wolf Firm, resulting in wrongful evictions and property
25

26   seizures.
27
     87.   Defendants systematically violated federal and California state debt collection
28


                                      VERIFIED COMPLAINT                      25
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 1   laws through deceptive practices, misrepresentations of debt, and improper legal
 2
     actions. They misrepresented the legal status of the property and fabricated debt claims
 3

 4   to initiate unlawful detainer actions and eviction proceedings without valid title,
 5   causing significant harm to Plaintiffs.
 6
     88.    Defendants initiated a wrongful trustee sale in June 2018 despite the absence
 7

 8   of any valid mortgage or debt obligation, demonstrating malicious pursuit of debt
 9
     collection actions and unlawful seizure of property.
10

11
     89.    Defendant MRLP violated both FDCPA § 1692e and similar provisions under

12   the Rosenthal Act by making, using, and disseminating false, deceptive, or misleading
13
     representations regarding the nature and legal status of the purported debts, coercively
14

15   affecting Plaintiffs rights.
16
     90.    Defendants actions were designed to coerce and intimidate Plaintiffs into
17

18
     compliance through deceptive means, in violation of FDCPA and Rosenthal Act

19   standards, by misrepresenting legal information and using improper legal actions.
20
     91.    Defendants manipulated legal proceedings with false information to secure
21

22   judgments against Plaintiffs, undermining their rights and violating FDCPA § 1692e,
23
     leading to wrongful evictions and property seizures.
24
     92.    Defendants attempted to collect unauthorized debts, disregarding legal
25

26   constraints, and exploiting Plaintiffs' rights under FDCPA § 1692f(1), causing severe
27
     financial harm and emotional distress.
28


                                     VERIFIED COMPLAINT                       26
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 1   93.   Plaintiffs urgently seek redress for financial losses incurred due to Defendants
 2
     actions, including maximum statutory damages, reimbursement of legal fees, and
 3

 4   compensation for emotional distress caused by Defendants egregious misconduct.
 5   WHEREFORE: Plaintiffs urgently seek redress from the court, including full
 6
     restitution of financial losses, maximum statutory damages under the FDCPA for each
 7

 8   violation committed, reimbursement of legal fees and associated costs, compensation
 9
     for profound emotional distress caused by Defendants' egregious misconduct, and any
10

11
     other relief the Court deems just and proper.

12

13                                               II.
14
               Violations of Federal Statutes and Constitutional Civil Rights
15          under the (42 U.S.C. §1981, 1982, 1983) and Civil Rights Act of 1964
                           (As to All Defendants and DOES 1-10)
16

17   94.   Plaintiffs repeat and reallege each allegation contained in paragraphs 1 93 of
18
     this Complaint.
19

20   95.   Plaintiffs allege violations of federal statutes and civil rights against Defendants
21   under 42 U.S.C. §§ 1981, 1982, 1983, and the Civil Rights Act of 1964, specifically
22
     asserting that Defendants' wrongful eviction actions resulted in demonstrable and
23

24   irreparable harm, including loss of property and disruption of fundamental rights.
25
     96.   Plaintiffs assert claims against Defendants based on alleged violations of
26

27
     federal statutes and civil rights, citing specific instances where Defendants' actions

28   directly led to irreparable harm through wrongful eviction within eviction-related

                                      VERIFIED COMPLAINT                      27
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 1   legal proceedings, thereby impeding Plaintiffs constitutional rights to due process for
 2
     the section of the property 2338 Pasadena Ave, long Beach, and property ownership.
 3

 4   97.   Plaintiffs claim their civil rights were violated due to specific wrongful eviction
 5   actions, including improper legal proceedings and harassment, in violation of federal
 6
     statutes including 42 U.S.C. §§ 1981, 1982, 1983, and the Civil Rights Act of 1964.
 7

 8   98.   Plaintiffs bring this action against all Defendants for violations of 42 U.S.C. §§
 9
     1981, 1982, 1983, alleging wrongful eviction and infringement of their constitutional
10

11
     rights to free speech and due process, supported by specific instances where

12   Defendants actions directly infringed upon these rights.
13
     99.   Defendants, including State Actor Hon. Judge of the Superior Court and
14

15   Defendant MLRP, allegedly retaliated against Plaintiffs' exercise of free speech rights
16
     by issuing threats and conducting harassment to suppress opposition to foreclosure
17

18
     and eviction processes, in violation of Plaintiffs' First Amendment protections.

19   No Valid Title or Valid Contract Existed to Initiate an Unlawful Detainer Action:
20
     100. Plaintiffs allege that Defendants, and each of them, and related agents and
21

22   entities engaged in deliberate and unlawful interference with Plaintiffs contractual
23
     rights regarding the MI-Property.
24
     101. Defendants scheme included initiating 11 unlawful detainer actions without
25

26   valid contractual rights or title, obtaining judgments through false statements to the
27
     court, engaging in predatory real estate actions to unlawfully seize and sell their
28


                                      VERIFIED COMPLAINT                      28
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 1   property, and clouding Plaintiffs ownership rights through fraudulent documents and
 2
     misrepresentations.
 3

 4   102. Defendants actions caused severe financial losses, reputational damage, and
 5   emotional distress to Plaintiffs, and they seek injunctive, compensatory, and punitive
 6
     damages to remedy the harm caused by this fraudulent conduct.
 7

 8   103. Plaintiffs bring this action against Defendants for deliberately and unlawfully
 9
     dispossessing Plaintiffs Brena of MICg, interfering with their contractual rights, and
10

11
     seek relief for No Valid Title or Valid Contract Existed To Unlawful Detainer Action,

12   Malicious Prosecution, and Abuse of Process asserted as to All Defendants and DOES
13
     1-10.
14

15   Malicious Prosecution and Abuse of Process:
16
     104. Plaintiffs allege wrongful eviction, unlawful detainer, and malicious prosecution
17

18
     based on the following:

19   105. Defendants had no valid title to commence a trustee sale on June 19, 2018,
20
     violating California non-judicial foreclosure laws by failing to provide statutory notice
21

22   and follow legal protocols. They had no valid title for an unlawful detainer action and
23
     no valid title to evict.
24
     106. Leveraging this improperly obtained title, Defendants initiated eleven unlawful
25

26   detainer actions from May 2019 onward, aiming to evict Plaintiffs under false
27
     pretenses arising from the void trustee's sale.
28


                                      VERIFIED COMPLAINT                      29
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 1   107. These actions lacked legal basis and constituted an abuse of process.
 2
     108. Defendants used a fraudulently obtained judgment to evict occupants without
 3

 4   legal rights, title, or justification.
 5   109. Defendants misled the court to obtain judgment against Plaintiffs despite lacking
 6
     standing for eviction, causing significant harm, including property loss, resident
 7

 8   disruption, and financial damages.
 9
     110.
10

11
     entered into by MI-Property, resulting in the termination of these contracts and

12   substantial financial losses for the plaintiffs.
13
     Irreparable Harm through Wrongful Eviction under 42 U.S.C. §1981, 1982, 1983,
14
     and the Civil Rights Act of 1964:
15
     111. Defendants lacked valid title or authority to initiate foreclosure proceedings on
16

17   the property, as demonstrated by exhibit 1, rendering the foreclosure action unlawful
18
     and void.
19

20   112. Between 2018 and 2024, Defendants, including State Actor Hon. judge and
21   Defendant Potier, allegedly retaliated against Plaintiffs' free speech rights aimed at
22
     suppressing opposition to eviction proceedings.
23

24   113. Defendant Potier collaborated with state actors to suppress Plaintiffs free speech
25
     and conducted improper trustee sales and evictions without affording Plaintiffs due
26

27
     process rights under the Fifth and Fourteenth Amendments.

28


                                         VERIFIED COMPLAINT                   30
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 1   114. Defendant SPS engaged in post-foreclosure eviction proceedings without due
 2
     process for Plaintiff Brena, violating her constitutional rights.
 3

 4   115. Defendants engaged in discriminatory practices, including religious racial
 5   discrimination and harassment, violating federal statutes (42 U.S.C. §§ 1981, 1982,
 6
     1983) by specifically targeting Plaintiffs based on their race and engaging in harassing
 7

 8   conduct that contravenes the protections afforded by these statutes.
 9
                                                                              :
10

11
     116. Defendant LASD unlawfully placed legal documents in Plaintiffs community

12   mailbox, violating Fourth Amendment rights against unlawful search and seizure, and
13
     this action violated their privacy expectations.
14

15   117. Defendants actions caused substantial harm to Plaintiffs through feeling
16
     harassed, scared with threats of eviction, and improper legal proceedings, leading to
17

18
     emotional distress.

19   118. Defendants engaged in a pattern of harassment and intimidation against
20
     Plaintiffs, resulting in emotional distress and impending financial losses.
21

22   119. Plaintiffs seek compensatory damages, injunctive relief, declaratory relief, and
23
     redress under 28 U.S.C. § 1343 and 42 U.S.C. § 1983, asserting violations committed
24
     under color of state law, including wrongful eviction and infringement of
25

26   constitutional rights.
27
     120. Plaintiffs request declaratory relief, injunctive relief to prevent further
28


                                      VERIFIED COMPLAINT                          31
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 1   unconstitutional practices, and compensatory damages for emotional distress and
 2
     financial losses, pursuant to 28 U.S.C. § 1343 and 42 U.S.C. § 1983, and seek judicial
 3

 4   intervention to remedy Defendants wrongful actions.
 5   WHEREFORE: Plaintiffs seek judicial intervention to rectify the injustices suffered
 6
     due to Defendants' actions. Specifically, Plaintiffs request:
 7

 8         a. A court declaration that the trustee's sale is void ab initio, affirming Plaintiff
 9

10

11
           b. A declaration that Defendants possess no legal rights, estate, or interest in the

12   subject property, thereby permanently enjoining them from asserting rights.
13
           c. An immediate injunction halting all ongoing and future unlawful detainer
14

15

16
     and interests pending resolution.
17

18
           d. Compensatory and punitive damages for financial losses incurred due to

19   wrongful and malicious eviction attempts and contractual disruptions, deterring similar
20
     misconduct by Defendants or others.
21

22         e. Redress for violations of their civil rights and appropriate remedies to remedy
23
     the injustices inflicted upon them by Defendants.
24
           f. For compensatory and punitive damages in amounts to be determined at trial.
25

26   ///
27
     ///
28


                                      VERIFIED COMPLAINT                        32
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 1
                                                III.
 2

 3              Scheme of Frauds, Slander of Title. Tortious Interference,
                Wrongful Sale, Set Aside Trustee sale and Deed Upon Sale.
 4          Predatory Real Estate Piracy, New Property Sale, Unjust enrichment
 5                      (As to All Defendants and DOES 1-10)
 6
     121. Plaintiffs repeat and reallege each allegation contained in paragraphs 1-120 of
 7
     this Complaint.
 8

 9   122. Plaintiffs allege that this action should have been pursued in another court other
10
     than the limited Superior Court for unlawful detainer cases since this case is actually a
11

12   title-based case and Plaintiffs were at no time unlawfully detaining the property which
13
     means that 2 entities are claiming the same rights to the same property except plaintiffs
14
     allege that defendants have no rights to the property.
15

16   123. Plaintiffs bring this action and cause of relief for Scheme of Frauds, Slander of
17
     Title. Tortious Interference, Wrongful Sale, Set Aside Trustee sale and Deed Upon
18

19   Sale, Predatory Real Estate Piracy, New Property Sale, Unjust enrichment against All
20   Defendants for a deliberate scheme to unlawfully dispossess and interfere with its
21
     contractual rights.
22

23   124. Plaintiffs allege claims against all Defendants for a series of wrongful actions
24
     perpetrated against them. Defendants are accused of engaging in a deliberate scheme to
25

26
     unlawfully dispossess and interfere with Plaintiffs contractual rights within their

27   property. These actions occurred over a period starting in 2016 and culminating to the
28


                                     VERIFIED COMPLAINT                       33
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 1   present, primarily taking place at 2336 Pasadena Ave, Long Beach, CA 90806. But
 2
     the true address is 2336 a single house, and 2338 units 1, 2 and 3 all on one parcel lot
 3

 4         Scheme of Frauds
 5   125. 18 U.S. Code § 1341 - Frauds and swindles. Whoever, having devised or
 6
     intending to devise any scheme or artifice to defraud, or for obtaining money or
 7

 8   property by means of false or fraudulent pretenses, representations, or promises, or to
 9

10

11
     designed to deceive or defraud others. A systematic series of deceptive actions,

12   misrepresentations, or manipulations aimed at unlawfully gaining something of value,
13
     such as money or property, from another party.
14

15   126. Schemes of fraud can take various forms, such as falsifying documents, making
16
     false representations, or engaging in deceptive practices with the intent to obtain an
17

18
     unfair advantage or unlawfully deprive someone of their rights. These schemes are

19   often characterized by intentional deceit and a calculated effort to exploit trust or legal
20
     processes for personal gain.
21

22   127. Defendants allegedly knowingly initiated an improper foreclosure proceeding,
23
     11 unlawful detainer actions, an eviction and sold Plaintiffs property at a private sale
24
     despite lacking valid title to the property. They are accused of making false statements,
25

26   misrepresenting ownership details, and fabricating documents to manipulate legal
27
     processes for their gain. This misconduct resulted in the wrongful eviction and loss
28


                                      VERIFIED COMPLAINT                       34
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 1   of property for the Plaintiffs, causing severe financial losses, emotional distress,
 2
     reputational damage, and disruption of business operations.
 3

 4   128. Defendants initiated foreclosure proceedings, unlawful detainer actions, and
 5   eviction of the plaintiffs despite lacking valid title to the property as evidenced by the
 6
     absence of documented ownership rights or legal title.
 7

 8   129. Defendants obtained a judgment on May 4, 2023, through false statements and
 9
     misrepresentations of a debt being owed that was not paid by Plaintiffs made to the
10

11
     court, including inaccurate financial information and misrepresented ownership details,

12   that no quiet title judgment was rendered to former owner which misled the court into
13
     issuing a judgment against the plaintiffs.
14

15   130. Defendant's actions were executed with fraudulent intent, knowingly deceiving
16
     the court, and exploiting legal loopholes to gain control over the subject property.
17

18
     131. Plaintiffs suffered significant harm, including wrongful eviction and loss of

19   property, directly resulting from Defendants fraudulent actions, leading to severe
20
     financial losses, emotional distress, reputational damage, and disruption of business
21

22   operations.
23
     132. Defendants knew or should have known that these statements were false and
24
     intended to deceive the court to gain control of subject property. Plaintiffs seek
25

26   injunctive relief to halt Defendants ongoing fraudulent practices and interference with
27
     their property rights. Compensatory damages are warranted to rectify financial losses,
28


                                      VERIFIED COMPLAINT                       35
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 1   emotional distress, and reputational harm caused by Defendants conduct. Punitive
 2
     damages are also sought to deter future misconduct and ensure justice.
 3

 4   133. Plaintiffs suffered harm due to defendants misrepresenting Plaintiffs financial
 5   status, ownership, and default to advance fraudulent foreclosure proceedings, including
 6
     falsifying documents and providing inaccurate information to support unlawful actions
 7

 8   against Plaintiffs. Defendants perpetrated fraudulent actions, leading to the wrongful
 9
     eviction and loss of property.
10

11
     134. Plaintiffs, and each of them, seeks injunctive, compensatory, and punitive

12   damages for Defendants fraudulent conduct.
13
     135. Defendants deliberate scheme caused severe financial losses, reputational
14

15   damage, emotional distress, and disrupted business operations for Plaintiffs.
16
     136. Defendants false representations clouded the title and ownership rights of
17

18
     Plaintiff Brena. Defendants misrepresented Plaintiffs status, ownership, and default

19   to advance improper foreclosure proceedings.
20
     137. Defendants made false statements to facilitate wrongful eviction, including
21

22   fabricating ownership documents and misrepresenting plaintiffs standing, directly
23
     contributing to the unlawful dispossession of the plaintiffs from their property.
24
           Set Aside Improper Trustee sale and Deed Upon Sale
25

26   138. Plaintiffs assert claims against Defendants, specifically through their associates
27
     SPS and TWF, for conducting an improper foreclosure against the property owned by
28


                                      VERIFIED COMPLAINT                      36
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 1   Plaintiffs, without legal justification or proper procedural compliance.
 2
     139. Defendants unlawfully attempted and evicted Plaintiffs based on void trustee's
 3

 4   sales, and also void trustee's deed upon sale, disregarding established ownership rights
 5   through legitimate transactions. Without demonstrating a clear chain of title and
 6
     failing to provide required notices and opportunities for Plaintiffs to challenge the debt
 7

 8   or cure alleged defaults.
 9
     140. As a result of this improper trustee sale, Plaintiffs have suffered significant
10

11
     damages, including loss of property, damage to their credit reputations, and severe

12   distress. These actions have disrupted Plaintiffs lives and led to substantial financial
13
     instability.
14

15          Predatory Real Estate Piracy:
16
     141. Plaintiffs assert claims against Defendants, through their associates SPS REO,
17

18
     Portier, and Rameriez, for engaging in predatory real estate actions, leveraging false

19   claims of debt and default to unlawfully seize property for unjust enrichment by
20
     selling subject property at a discounted rate, causing irreparable harm to Plaintiffs.
21

22   142. Plaintiffs legal title to the subject property was severely compromised when
23

24
     and uncertainty, due to this scheme of frauds.
25

26   143. Defendants deliberate scheme caused severe financial losses, reputational
27
     damage, emotional distress, and disrupted business operations for Plaintiffs.
28


                                      VERIFIED COMPLAINT                        37
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 1   144. Defendants along with their two brokers contrived together to usurp the equity
 2
     out of the property in their usual manner, by selling the property lower than its value.
 3

 4         Slander of Title
 5   145. Plaintiffs assert claims against Defendants, specifically their associates
 6
     Defendant First American Title Co. (FATC), and SPS/SPS REO, when Defendants
 7

 8   recorded a fraudulently created deed upon sale without legitimate rights or a clear
 9
     chain of title, which clouded the Plaintiff's ownership rights. This action constitutes
10

11
     slander of title as it created doubt and uncertainty over the plaintiff's property

12   ownership, directly harming their property rights and marketability.
13
     146. Code Civ. Proc., § 392, Slander of Title, making false and malicious statements
14

15   about the title to someone's property, which can lead to interference with the owner's
16
     ability to sell, use, or otherwise benefit from the property. It occurs when someone
17

18
     knowingly spreads false information about property ownership or legal rights

19   associated with real estate, intending to undermine the owner's reputation or ability to
20
     deal with the property, can result in economic losses for the property owner.
21

22   147. Plaintiff contends that even if Defendants have a recorded deed it should be
23
     rendered void because of the dispute of clouded title, and at the very least, give good
24
     cause to sue for Slander of Title.
25

26   148. The recordation of an instrument facially valid but without underlying merit
27
     will, of course, give rise to an action for slander of title (See Forte v. Nolfi (1972) 25
28


                                      VERIFIED COMPLAINT                        38
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 1   Cal.App.3d 656, 685-686 [102 Cal.Rptr. 4551; "Possession is not title, but only
 2
     evidence from which title may be presumed," 46 Cal. 162; 1873 Cal. LEXIS 152).
 3

 4   149. Plaintiff alleges that they have possession through an agreement with Miricle
 5   Island Community in the form of a Property Rights Contract and two Deeds.
 6
     150. Defendants recorded a deed upon sale on Plaintiffs title with no rights to do so,
 7

 8   because Defendants lien was not on the property at the time of the foreclosure sale thus
 9
     clouding Plaintiffs title.
10

11
            Tortious Interference

12   151. Plaintiffs assert claims against Defendants, specifically Porier, XMRX, MRLP,
13
     Zubari, and Domeyer, and their associates SPS and TWF, for Tortious interference,
14

15   also known as intentional interference with contractual relations, occurs when one
16
     person intentionally damages someone else's contractual or business relationships
17

18
     with a third party, causing economic harm. This interference is considered wrongful

19   or unlawful, it undermines the rights of the affected party to freely conduct their
20
     business or contractual arrangements without interference from third parties.
21

22   152. Plaintiffs allege that defendants induced a breach of contract, disrupting
23
     business relationships, and made false statements to damage their business prospects.
24
     153. Defendants engaged in threats and actions that interfered with the plaintiff's
25

26   contractual rights to possession and title. For instance, threatening eviction despite
27
     ongoing contractual agreements, causing direct interference and disruption to the
28


                                      VERIFIED COMPLAINT                       39
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 1   Plaintiffs property rights.
 2
     154. Defendants made threats that constituted tortious interference with Plaintiffs
 3

 4   contractual rights as to their possession and title.
 5   155. Defendants threats with Plaintiffs contractual rights to possession and title, are
 6
     now real harm with the eviction and lockout to further exacerbate the harm inflicted
 7

 8   by their fraudulent actions.
 9
           Wrongful Sale, New Owner
10

11
     156. Plaintiffs assert claims against Defendants MRLP, Zubari, Domeyer, Portier,

12   and Ramirez of XMRX, as realtors for engaging in wrongful sale and unjust
13
     enrichment by leveraging false claims of debt and default to unlawfully seize and sell
14

15   the property at a discounted rate, causing irreparable harm to Plaintiffs. Resulting in
16
     severe financial losses, reputational damage, and emotional distress for Plaintiffs.
17

18
     They seek declaratory relief affirming Pastor (Plaintiff Brena) ownership rights,

19   invalidation of fraudulent actions, and restoration of title.
20
     157. Plaintiffs seek injunctive relief to halt Defendants fraudulent practices, and
21

22   interference with Plaintiff Brena's rights. Compensatory and punitive damages to
23
     rectify extensive harm inflicted. The lawsuit aims to remedy civil rights violations
24
     perpetrated by Defendants and restore justice for Plaintiffs.
25

26   //
27
     ///
28


                                      VERIFIED COMPLAINT                      40
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 1         Wrongful Sale: Unjust enrichment
 2
     158. Plaintiffs assert claims against Defendants Portier, XMRX, and Rameriz, for
 3

 4   they sold the property at a significantly reduced rate, exploiting false claims of debt
 5   and default to their advantage. This unjust sale resulted in substantial financial loss to
 6
     the plaintiffs, unfairly benefiting the defendants through the acquisition of the property
 7

 8   at a discounted price.
 9
     159. This refers to the act of defendants selling Plaintiffs real property under
10

11
     improper or unlawful circumstances. In legal terms, a wrongful sale can occur when

12   property is sold without proper authorization, in violation of legal requirements, or
13
     through deceptive means. A real property sale is conducted without following the
14

15   required procedures or without valid grounds for the sale, it could be deemed a
16
     wrongful sale.
17

18
     160. Unjust enrichment occurs when XMRX Corp the buyer unfairly benefits at the

19   expense of Plaintiffs, without legal justification. In the context of a real estate
20
     transaction, unjust enrichment can happen because the property was sold at 875k a
21

22   price significantly below its fair market value 105m, leading to a financial gain for the
23
     buyer (defendant) while causing a loss to the original owner (plaintiff).
24
     161. Defendants engaged in wrongful sale and unjust enrichment by leveraging false
25

26   claims of debt and default to unlawfully seize and sell the property at a discounted rate,
27
     causing irreparable harm to Plaintiffs.
28


                                      VERIFIED COMPLAINT                         41
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 1   162. The Plaintiffs seek injunctive relief to halt ongoing fraudulent practices,
 2
     compensatory damages to rectify financial losses, and punitive damages to deter future
 3

 4   misconduct and restore justice.
 5   WHEREFORE: Plaintiffs respectfully request:
 6
     Declaratory relief is affirmation of Plaintiff Brena's ownership rights, invalidation of
 7

 8   fraudulent actions, and restoration of title.
 9
           a.     Injunctive relief sought is an Order halting Defendants fraudulent
10

11
     practices and interference with Plaintiff Brena's rights.

12         b. Compensatory and punitive damages sought by Plaintiffs is comprehensive
13
     compensation for financial, emotional, and reputational harm inflicted, with punitive
14

15   damages to deter future misconduct. This cause of action aims to rectify extensive
16
     wrongdoing by Defendants and seeks comprehensive legal remedies for the harm
17

18
     suffered by Plaintiffs.

19         c. Plaintiffs seek redress for violations of their civil rights and request
20
     appropriate remedies to remedy the injustices inflicted upon them by Defendants.
21

22
                                                     IV.
23

24                          Civil Rights Violations (42 U.S.C. §1983)
                     (As to MRLP, Zubari, Domeyer, Dillon and DOES 1-10)
25

26   163. Plaintiffs repeat and reallege each allegation contained in paragraphs 1 162 of
27
     this Complaint.
28


                                       VERIFIED COMPLAINT                       42
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 1   164. Plaintiffs bring this action against Defendants, alleging violations of their
 2
     constitutional rights under 42 U.S.C. §1983, including violations of the Equal
 3

 4   Protection Clause and Due Process Clause, arising from discriminatory conduct and
 5   unlawful property seizures.
 6
     165. Plaintiffs bring this action against Defendants, and each of them and cause of
 7

 8   relief for Civil Rights Violations, Hon. judge and the Long Beach Superior Court, as
 9
     state actors, engaged in discriminatory conduct under color of state law, and against
10

11
     Defendants MRLP, Zubari, Domeyer and Dillon, and DOES 1-10, deprived Plaintiffs

12   of their constitutional rights, under 42 U.S.C. §1983. Defendant MRLP, Zubari, and
13
                                     Defendants failed to responsively instruct their
14

15   employee Dillon (paralegal) from filing multiples of cases causing negligence and
16
     harm to Plaintiffs.
17

18
     166. Plaintiffs further allege that any rule, even if not facially unconstitutional, is

19   unconstitutional as applied according to a state judicial norm "which requires a
20
     judicial determination of reasonable probability of success prior to permitting the
21

22   filing of an action against an attorney based on a claim of civil conspiracy with a
23
     client" because such a rule (as articulated by Defendants) constitutes a per se denial
24
     of equal access to the courts due process and of equal access to the courts and legal
25

26   processes in violation of 42 U.S.C. §1981.
27
     167. Defendants, including Hon. judge and the Long Beach Superior Court, as state
28


                                      VERIFIED COMPLAINT                       43
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 1   actors, engaged in discriminatory conduct under color of state law. For instance, on
 2
     June 15, 2018, Defendant MRLP issued baseless eviction threats against Plaintiffs,
 3

 4   constituting impermissible discrimination under the Equal Protection Clause.
 5   168. Similarly, on August 3, 2019, Defendants orchestrated an unlawful property
 6
     seizure without due process, directly violating Plaintiffs rights under §1983.
 7

 8   169. Defendants MRLP, Zubari, Domeyer and Dillon, lacked valid title to commence
 9
     with a foreclosure, unlawful detainer action, or eviction. These actions were
10

11
     undertaken under color of state law and directly deprived Plaintiffs of their

12   constitutional rights under §1983, including equal protection and due process, based
13
     on their religious affiliation and community status.
14

15   170. Defendant's actions, exemplified by baseless eviction threats and unlawful
16
     property seizures, were undertaken under color of state law, and directly deprived
17

18
     Plaintiffs of their constitutional rights under §1983, including equal protection and

19   due process, based on their religious affiliation and community status.
20
     171. Defendants lack valid title for commencing trustee sale, unlawful detainer, or
21

22   eviction actions, constituting grounds for this action under 42 U.S.C. §1983.
23
     172. Plaintiffs allege that Defendants, acting under state authority, engaged in
24
     discriminatory acts violating Plaintiffs' constitutional rights:
25

26   173. For instance, on June 15, 2018, Defendant MRLP issued baseless eviction
27
     threats against Plaintiffs, constituting impermissible discrimination under the Equal
28


                                      VERIFIED COMPLAINT                       44
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 1   Protection Clause. Similarly, on August 3, 2019, defendants orchestrated an unlawful
 2
     property seizure without due process, directly violating Plaintiffs' rights under §1983.
 3

 4   174. Throughout 2020, Defendants selectively enforced regulations against Plaintiffs
 5   based on their religious association, triggering scrutiny under the Equal Protection
 6
     Clause and depriving Plaintiffs of equal treatment and due process guaranteed by the
 7

 8   U.S. Constitution.
 9
     175. Plaintiffs contend that defendants, acting under color of state law, engaged in
10

11
     discriminatory acts such as baseless threats and unlawful seizures, targeting Plaintiffs

12   based on their religious affiliation and community status, thereby infringing on their
13
     equal protection rights violating their constitutional rights under §1983.
14

15   176.   Plaintiffs allege that Defendants MRLP, Zubari, Domeyer relationship with
16
     the Justices of the Limited Superior court is so close and intimate that there exists a
17

18
     continuing and ongoing agreement and understanding between them in derogation of

19   due process of law and equal protection of persons and property, in violation of 42
20
     U.S.C. §§1981, 1982 and also of the 5th and 14th Amendments.
21

22   177. Defendants violated Plaintiffs' rights to equal protection and due process under
23
     the U.S. Constitution. Such conduct is unconstitutional under 42 U.S.C. §1983.
24
     178. Plaintiffs suffered distress, financial losses, and community disruption,
25

26   including loss of property rights and interference with religious practices, due to
27
     Defendants actions.
28


                                      VERIFIED COMPLAINT                       45
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 1   179.   Plaintiffs possess documented communications and notices that clearly illustrate
 2
     Defendants discriminatory actions, which deprived Plaintiffs of their constitutional
 3

 4   rights under §1983, including equal protection and due process, as protected by
 5   established legal principles.
 6
     180. Defendants conduct, including the initiation of baseless eviction threats and
 7

 8   unlawful property seizures without due process, contravenes established legal
 9
     principles under §1983.
10

11
     181. Access to discovery of facts is a key element of due process of law and equal

12   access to the Courts as discovery procedures are often critical to the determination of
13
     the accuracy or inaccuracy of any legal complaint, suit at law, or equitable action.
14

15   WHEREFORE, Plaintiffs respectfully request the following relief from the Court:
16
     Declare Defendants actions unconstitutional under 42 U.S.C. §1983.
17

18
            a. Affirm Plaintiffs rights to equal protection and due process.

19          b. Enjoin further unconstitutional practices, including baseless threats of
20
     eviction and discriminatory enforcement tactics.
21

22          c. Compensate Plaintiffs for emotional distress, financial losses, and harm
23
     suffered due to Defendants' unconstitutional practices.
24
            d. Issue an injunction preventing Defendants from further engaging in
25

26   discriminatory practices against Plaintiffs.
27
            e. Award compensatory damages for emotional distress, financial losses, and
28


                                      VERIFIED COMPLAINT                       46
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 1   other harms suffered as a direct result of Defendants' unconstitutional actions.
 2
           f. Plaintiffs pray that even if California Civil Code §1714.10 is not
 3

 4   unconstitutional on its face, it is either unconstitutional as applied to Defendants
 5   MRLP, Zubari, Domeyer and Dillon or simply does not, as a matter of fact or law,
 6
     apply to Defendants MRLP, Zubari, Domeyer and Dillon at all.
 7

 8   182. Plaintiffs pray that this Court will so declare and adjudge, granting them all
 9
     their costs of suit, in addition to the full and unfettered right to recover from
10

11
     Defendants MRLP, Zubari, and Domeyer all of their damages for a scheme of frauds

12   within civil conspiracy with other Defendants and non-defendants, including collusion
13
     or conspiracy with Superior Court judges who may be otherwise immunized from suit.
14

15
                                                  V.
16

17        Federal Mail Regulations (18 U.S.C. §1725) Violations of 42 U.S.C. §1983
18
                                  (LASD and DOES 1-10)

19   183. Plaintiffs repeat and reallege each allegation contained in paragraphs 1 182 of
20
     this Complaint.
21

22   184. Plaintiff Brena of MICg initiates this lawsuit against the Los Angeles Sheriff's
23   Department (LASD) and its officers, of the Superior Court of Los Angeles George
24
     Deukmejian Courthouse in the city of Long Beach, a state-employed law enforcement
25

26   officer, for alleged civil rights violations and breaches of federal mail regulations,
27
     specifically involving discriminatory practices based on religious affiliation and
28


                                      VERIFIED COMPLAINT                        47
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 1   improper use of mail services.
 2
     185. Plaintiffs allege that LASD defendants, acting under state law, systematically
 3

 4   violated Plaintiffs rights under 42 U.S.C. §1983 and 18 U.S.C. §1725 by engaging in
 5   discriminatory conduct, including unlawful property seizures, baseless threats, and
 6
     discriminatory enforcement tactics utilizing unauthorized communications through
 7

 8   the USPS.
 9
     186.
10

11
     unlawfully placed a writ of possession in Plaintiffs property mailbox without proper

12   service, directly violating Plaintiffs Fourth Amendment rights to due process and
13
     protection against unreasonable searches and seizures.
14

15   187. During March 2024, Defendants engaged in discriminatory conduct against
16
     Plaintiffs, including illegal property seizures and discriminatory enforcement
17

18
     measures, which deprived Plaintiffs of their constitutional rights to equal protection

19   and due process under the law.
20
     188. Defendants unlawfully used the mailbox to deposit unauthorized
21

22   communications to Plaintiffs, violating federal mail regulations as outlined in 18
23
     U.S.C. §1725, which prohibits the depositing of mailable matter without postage.
24
     189. Defendants actions have caused substantial harm, including severe emotional
25

26   distress and erosion of community trust due to discriminatory and unlawful conduct
27
     that directly infringed upon Plaintiffs constitutional rights.
28


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 1   189. Plaintiffs assert that defendants blatantly violated civil rights under 42 U.S.C.
 2
     §1983 and federal mail regulations under 18 U.S.C. §1725, necessitating judicial
 3

 4   intervention to address the harm caused and uphold essential constitutional rights,
 5   including seeking specific monetary relief to compensate for damages and injunctive
 6
     relief to prevent future violations.
 7

 8   WHEREFORE: Plaintiffs respectfully request the Court to:
 9
           a. Declare Defendants actions as violations of 42 U.S.C. §1983 and 18 U.S.C.
10

11
     §1725.

12         b. Enjoin the Los Angeles Sheriff's Department from further unconstitutional
13
     practices.
14

15         c. Compensate Plaintiffs for resulting damages, with specific monetary relief to
16
     be determined at trial.
17

18
           d. Order appropriate injunctive relief to prevent future violations and redress

19   harm caused.
20

21                                             VI.
22
                     Civil Rights Declaratory Judgment (42 U.S.C. §1983)
23                           (As to All Defendants and DOES 1-10)
24
     190. Plaintiffs repeat and reallege each allegation contained in paragraphs 1-189 of
25
     this Complaint.
26

27   191. Plaintiffs present a Civil Rights Declaratory Judgment claim (42 U.S.C. §1983)
28


                                      VERIFIED COMPLAINT                     49
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 1   against Defendants, and each of them, and other named and unnamed individuals and
 2
     entities.
 3

 4   192. Defendants initiated trustee sales and unlawful detainer actions against Plaintiffs
 5   without lawful ownership documents or valid title to the property, directly leading to
 6
     wrongful evictions.
 7

 8   193. Acting under color of state law, Defendants engaged in discriminatory conduct
 9
     against Plaintiffs and members of MICg following the June 2016 property transfer in
10

11
     Long Beach, California.

12   194. SPS conducted a non-judicial foreclosure in June 2018 without possessing
13
     lawful title to the property, resulting in an improper transfer of property rights and
14

15   targeted harassment of MICg members, thus contravening specific provisions of
16
     California property laws.
17

18
     195. Defendants repeatedly filed baseless unlawful detainer actions, causing

19   significant emotional distress, and disrupting Plaintiffs activities. They used the legal
20
     system improperly to intimidate and displace MICg members.
21

22   196. Defendants infringed upon Plaintiffs constitutional rights to equal protection
23
     and due process by intentionally and recklessly pursuing evictions and property
24
     seizures without adherence to established legal safeguards and protections.
25

26   197. Plaintiffs assert violations of their constitutional rights under §1983 due to
27
     Defendants discriminatory and unfounded eviction attempts, seeking declaratory
28


                                      VERIFIED COMPLAINT                       50
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 1   relief and damages to remedy these violations.
 2
     198. The unconstitutional conduct of Defendants inflicted severe emotional distress,
 3

 4   substantial financial losses, and significant disruptions to community activities upon
 5   Plaintiffs, thereby resulting in tangible harm and hardship experienced by the MICg
 6
     community.
 7

 8   WHEREFORE, Plaintiffs respectfully request the Court to declare Defendants actions
 9
     as violations of 42 U.S.C. §1983, affirm Plaintiffs' rights to equal protection and due
10

11
     process, enjoin Defendants from further unconstitutional practices, and award

12   compensatory damages for emotional distress, financial losses, and harm caused by
13
     Defendants actions. The claims under §1983 are substantiated by specific factual
14

15   allegations detailing the deliberate violations of Plaintiffs civil rights by the
16
     Defendants.
17

18
                                                 VII.

19                              Declaratory and Injunctive Relief
20                              (As to all Defendants & Does 1-10)
21   199. Plaintiffs repeat and reallege each allegation contained in paragraphs 1 198 of
22
     this Complaint.
23

24   200. Plaintiffs assert this cause of action for Declaratory and Injunctive Relief
25
     against all Defendants, including unnamed Does 1-10, based on the demonstrated
26
     lack of valid title and standing by Defendants to maintain unlawful detainer actions
27

28   for eviction against Plaintiffs. The exhibited evidence, highlights the absence of legal

                                       VERIFIED COMPLAINT                        51
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 1   authority necessary to support Defendants' claims over the subject property, forming
 2
     the basis for the relief sought.
 3

 4   201. Defendants lacked valid title and standing to maintain 11 unlawful detainer
 5   actions for eviction against Plaintiffs, when all they needed to do was a title case thus
 6
     failing to demonstrate legal authority over the subject property. [See Ex. 1].
 7

 8   202. The subject property was previously owned by Blackwell until June 16, 2016,
 9
     when a state court quieted title in favor of Plaintiffs and transferred the property to
10

11
     Miricle Island community group (MICg) through a general warranty deed.

12   203. An actual controversy exists between Plaintiffs and Defendants regarding
13
     ownership and possession of the subject property, arising from Defendants
14

15   unauthorized attempts to assert control over the MI-Property following the quiet title
16
     order in 2016.
17

18
     204. Plaintiffs seek a judicial determination of their rights, obligations, and interests

19   concerning the subject Property, particularly to confirm and enforce their sole title
20
     ownership established through the quiet title order.
21

22   205. Plaintiffs request declaratory relief confirming sole title ownership by MICg
23
     and a permanent injunction restraining Defendants from asserting any estate, right,
24
     title, or interest in the subject property based on the quieted title and transfer.
25

26   206. Plaintiffs allege an actual controversy and seek a declaration that Defendants
27
     have no valid estate, right, title, or interest in the subject property, as evidenced by
28


                                        VERIFIED COMPLAINT                       52
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 1   their failure to demonstrate lawful ownership or authority over the property, including
 2
     specific instances such as the unauthorized attempts to assert control following the
 3

 4   quiet title order in 2016.
 5   207. Plaintiffs further seek to enjoin Defendants from asserting any adverse claims
 6
     or actions against Plaintiffs based on the quieted title and transfer of ownership,
 7

 8   securing Plaintiffs exclusive rights to possession and control of the MI-Property, and
 9
     request remedies for civil rights violations.
10

11
     WHEREFORE, Plaintiffs seek declaratory relief to establish and confirm that the title

12   to the subject property is vested solely in MICg. Plaintiffs also request an injunction
13
     permanently restraining Defendants from asserting any estate, right, title, or interest in
14

15   the subject property based on the quieted title and transfer to MICg, supported by
16
     detailed legal and factual arguments presented in this Complaint.
17

18
                                                VIII.
19

20
                          Application for Temporary Restraining Order
                             (Against All Defendants and Does 1-10)
21

22
     208. Plaintiffs repeat and reallege each allegation contained in paragraphs 1 207

23   of this Complaint.
24
     209. Plaintiffs urgently request this Honorable Court to issue a Temporary
25

26   Restraining Order (TRO) against all named Defendants, restraining them, their
27
     officers, agents, representatives, servants, employees, assigns, and attorneys from
28


                                      VERIFIED COMPLAINT                       53
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 1   directly or indirectly taking, leasing, encumbering, selling, altering, or destroying
 2
     subject Property to prevent imminent actions that would adversely affect Plaintiffs
 3

 4   property rights.
 5   210. Defendants actions pose an immediate and irreparable threat to Plaintiffs rights
 6
     and interests in the subject property. Without intervention, Defendants may disturb
 7

 8   Plaintiffs peaceable possession and enjoyment of the property, causing irreversible
 9
     injury for which there is no adequate legal remedy.
10

11
     211. Plaintiffs demonstrate to this Court that harm is imminent, given the risk of

12   eviction, alteration, or destruction of the property. Immediate court intervention is
13
     necessary to protect Plaintiffs rights and prevent irreversible damage pending
14

15   resolution of this matter.
16
           Legal Standard for TRO
17

18
     212. Plaintiffs have satisfied the legal standard for granting a Temporary Restraining

19   Order. They have established:
20
     213. Likelihood of Success on the Merits: Plaintiffs are likely to succeed on the
21

22   underlying claims challenging unlawful eviction and interference with property rights.
23
     214. Demonstrated Irreparable Harm: Defendants' actions will cause immediate and
24
     irreparable harm to Plaintiffs property rights and possession.
25

26   215. Balance of Hardships: The harm to Plaintiffs if the TRO is not granted
27
     outweighs any potential harm to Defendants.
28


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 1   216. Public Interest: Granting the TRO serves the public interest by upholding
 2
     property rights and preventing unlawful actions.
 3

 4   217. There is no available legal remedy that can provide Plaintiffs with complete
 5   and final relief if the Temporary Restraining Order (TRO) is not granted, allowing
 6
     for transfer, alteration, or destruction of the property.
 7

 8   218. Plaintiffs have satisfied the burden of establishing each necessary element for
 9
     injunctive relief to be granted by this Court, entitling them to the requested temporary
10

11
     restraining order.

12   219. Plaintiffs are likely to succeed on the merits of this lawsuit, which challenges
13
     unlawful eviction and interference with property rights. The acts alleged herein have
14

15   already caused and will continue to cause irreparable harm to Plaintiffs.
16
     220. Plaintiffs respectfully request this Honorable Court to issue a Temporary
17

18
     Restraining Order (TRO) restraining Defendants, their officers, agents, representatives,

19   servants, employees, assigns, and attorneys from taking any action that would disturb
20
     Plaintiffs' peaceable possession and enjoyment of the subject property pending
21

22   resolution of this matter.
23
     221. Plaintiffs are at immediate risk of eviction and irreversible harm if Defendants
24
     are allowed to proceed with their actions. The TRO is necessary to prevent permanent
25

26   alteration or destruction of the property and protect Plaintiffs rights pending the
27
     outcome of this legal action.
28


                                       VERIFIED COMPLAINT                      55
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 1   222. Defendants actions threaten the permanent alteration or destruction of the
 2
     property, potentially jeopardizing Plaintiffs' ability to recover their rights.
 3

 4   223. Plaintiffs assert that the imminent harm they face, coupled with the legal merits
 5   of their claims, justifies the issuance of a Temporary Restraining Order. The relief
 6
     sought is essential to safeguard Plaintiffs property rights and prevent irreparable harm
 7

 8   pending further court proceedings.
 9

10                                   REQUEST FOR RELIEF
11
     WHEREFORE, Plaintiff respectfully requests that this Honorable Court grant the
12

13
     following relief:

14         1. Declare that the trustee sale and eviction actions undertaken by Defendants
15
     are in violation of Plaintiff federal statutory and constitutional rights.
16

17         2. Issue a declaratory judgment confirming Plaintiff lawful ownership and
18
     possession of the subject property.
19

20
           3. Enjoin Defendants from further harassing or evicting Plaintiff from the

21   property.
22
           4. Award compensatory damages to Plaintiff for emotional distress, mental
23

24   anguish, and any other actual damages incurred as a result of Defendants actions.
25
           5. Award punitive damages against Defendants for their willful violations of
26
     Plaintiffs constitutional rights.
27

28         6. Grant any other relief that this Court deems just and equitable.

                                         VERIFIED COMPLAINT                       56
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 1         7. Award Plaintiff their costs and attorney fees incurred in bringing this action.
 2
                                     PRAYER FOR RELIEF
 3

 4   WHEREFORE, plaintiff prays judgment against defendant as follows from this
 5   Honorable Court:
 6
           1. For an order requiring the defendants to show cause, if any, why they should
 7

 8   not be enjoined as set forth in this complaint during the pendency of this action.
 9
           2. For a temporary restraining order, a preliminary injunction, and a permanent
10

11
     injunction requiring defendants to refrain from taking possession of or selling,

12   transferring or conveying subject Property while a question of title still exists in
13
     Federal Court.
14

15         3. Declaratory Judgment from this Court declares Plaintiff lawful ownership and
16
     possession of the subject property and determines that any actions taken by
17

18
     Defendants, including trustee sale and eviction, are unlawful and in violation of

19   Plaintiff federal statutory and constitutional rights.
20
           4. Injunctive Relief that this Court issues immediate injunctive relief enjoining
21

22   Defendants from further harassing or attempting to evict Plaintiff from the property
23
     pending resolution of this matter.
24
           5. Compensatory Damages: That Plaintiff is awarded compensatory damages
25

26   for emotional distress, mental anguish, and any other actual damages suffered as a
27
     direct consequence of Defendants wrongful actions.
28


                                      VERIFIED COMPLAINT                       57
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 1          6. Punitive Damages: that punitive damages are awarded against Defendants as
 2
     appropriate to punish their willful violations of Plaintiff constitutional rights and
 3

 4   to deter future misconduct.
 5          7. For the trebled amount of Plaintiff's Actual Damages in the amount of
 6
     $1,500,000.00, as authorized by California law and 18 U.S.C. §1964(c).
 7

 8          8. For reasonable costs of suit incurred in prosecuting this complaint in the
 9
     amount of$25,000.00 as authorized by 18 U.S.C. §1964(c).
10

11
            9. Jury Trial: Alternatively, if a jury trial is deemed appropriate by the Court,

12   Plaintiff requests a trial by jury on all triable issues of fact.
13
            10. Any Other Relief Deemed Just and Proper: That the Court grants any
14

15   additional relief that it deems just and proper under the circumstances of this case.
16
                                           CONCLUSION
17

18
            Plaintiff asserts that Defendants actions, taken under color of law, have resulted

19   in egregious violations of Plaintiff constitutional and statutory rights. The evidence
20
     presented demonstrates a pattern of harassment, threats of eviction, and unlawful
21

22   interference with Plaintiff property rights. Plaintiff seeks redress from this Honorable
23
     Court to obtain a declaration of rightful ownership and possession of the subject
24
     property, and to enjoin Defendants from further unlawful actions.
25

26          Plaintiff requests compensatory and punitive damages to address the emotional
27
     distress and harm suffered as a result of Defendants wrongful conduct. The principles
28


                                        VERIFIED COMPLAINT                      58
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 1   of due process, equal protection under the law, and the fundamental rights enshrined
 2
     in the United States Constitution are at stake in this matter.
 3

 4         Plaintiff respectfully urges the Court to grant the relief sought, in accordance
 5   with the law and principles of justice. For these reasons, Plaintiff respectfully requests
 6
     that this Court adjudicate the claims presented and provide the necessary remedies to
 7

 8   restore Plaintiff rights and rectify the harms inflicted by Defendants.
 9

10   Date: May 10, 2024                                    Respectfully submitted.
11
                                                           /s/ LB Brena
12                                                           Pastor LB Brena, Plaintiff Pro Se
13                                                           2336, 2338 1, 2, and 3 Pasadena
                                                             Long Beach, California 90806
14
                                                             Pastorlbl9@gmail.com
15
                                                           /s/ MS Blackwell
16
                                                             MS Blackwell, Plaintiff Pro Se
17                                                           16129 Hawthorne Blvd., D377
                                                             Lawndale, California 90260
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                                      VERIFIED COMPLAINT                       59
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 1                                   VERIFICATION
 2
     I, Gladys Copeland, and Ann Lizana, are Plaintiffs in the above-entitled action. I
 3   have read the foregoing complaint and know the contents thereof. The same is true
 4
     of my knowledge, except as to those matters which are therein alleged on information
     and belief, and as to those matters, I believe it to be true. I declare under penalty of
 5   perjury that the foregoing is true and correct, and that this declaration was executed
 6   in California.
 7
                                                              /s/ LB Brena
 8
                                                              /s/ MS Blackwell
 9

10
     TRIAL-BY-JURY

11        Plaintiffs demand a trial-by-jury of all issues of fact so triable, and all mixed
12
     questions of law and fact which may be triable as a matter of controlling case law, and
13

14   Plaintiffs demand an advisory jury on all other matters to the extent permitted by law,
15
     with appropriate instructions distinguishing the advisory from the deciding issues
16
     presented to the jury for resolution.
17

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                                      VERIFIED COMPLAINT                         60
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 1                        DECLARATION OF PASTOR LB BRENA
 2
     I, Pastor LB Brena, attest to the following,
 3

 4   1. I am a Plaintiff in this action and the one appointed as a main holder of the rights to
 5   subject property by, through and on behalf of MICg, who is the legal title holder and
 6   owner.
 7   2. I acquired ownership and title rights to subject property by and through an
 8   inheritance that originally occurred around July 2016 and bequeathed to me thereafter.
 9   3. My ownership is supported by the contract for Property Rights. I have several deeds
10   for 2336 (a single family dwelling) and 2338 1, 2, and 3 Pasadena Ave. Long Beach,
11   California, 90806, collective the MI-Property, which I hold deeds to.
12   4. On May 5, 2023, MRLP for their client Wells Fargo obtained several judgments
13   through another improper method. If they would have properly served the corporation
14
     as per service requirements for the process of a corporation as per the secretary of
15
     State we would have known. Instead they decided to sue the process server without us
16
     knowing. The process server has an address so why not serve it to them.
17
     5. Using this judgment, the defendants sold the subject property of 2336 Pasadena
18
     Ave, Long Beach CA. 90806. Their sell did not include 2338 (units 1, 2 & 3) Pasadena
19
     Ave. Long Beach, CA. 90806 and then commenced with a wrongful eviction of the
20
     residents from my property without my knowledge or consent.
21
     6. At no point was I a party to defendants declaratory intervention case in the unlimited
22
     court and the numerous limited court UD cases that led to the judgments in question,
23
     nor was I given any notice or opportunity to contest them.
24
     7. On April 17, 2024, I had a hearing and the Hon judge Amy Yorkie denied my
25

26
     Arrieta Claim of rights to enter the case per a code 415.64 stating that the defendants

27
     then Plaintiffs at the limited Superior Court had perfected a way to violate occupants

28   rights to the Arrieta claim, and I was denied entry into the case of 22lbud01781, I have

                                      VERIFIED COMPLAINT                       61
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 1   filed an appeal to this denial.
 2   8. The eviction caused significant harm, including loss of property, financial damages,
 3   emotional distress, or other negative effects and even a new buyer has shown up who
 4   thinks he can harass and push me around like a puppet.
 5   9. I retain legal ownership of the property in question, as evidenced by my contract
 6
     and deeds.
 7
     10. The defendant's actions deprived me of my due process rights, property rights and
 8
     caused substantial harm to myself and my community.
 9
     11. I am not aware of any valid legal basis for the defendant's actions, and I believe
10
     the judgment obtained was improper and based on fraudulent and or deceptive claims.
11
     12. I seek the court's intervention to restore my property rights and to prevent further
12
     harm caused by the defendant's wrongful actions.
13
     13. I request compensatory damages, punitive damages, restoration of property,
14
     declaratory and injunctive relief and any relief deemed proper by the court.
15
            I declare under penalty of perjury under the laws of the State of California that
16
     the foregoing is true and correct to the best of my knowledge.
17
     Date: 5/10/24                                          Respectfully submitted,
18

19                                                          /s/ LB Brena
20
                                                            Pastor LB Brena, in pro per

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                                       VERIFIED COMPLAINT                      62
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 1                         DECLARATION OF MS BLACKWELL
 2
     I, MS Blackwell, attest to the following,
 3

 4   1. I am a Plaintiff in this action I know each of the following facts to be true of my
 5   own personal knowledge and if called as a witness I can competently testify with
 6   respect hereto.
 7   2. I was the former owner of the real property that is the MI-Property, which includes
 8   subject Property, but do not have any rights or ownership of it.
 9                                                                                       all
10   of my rights and interest in subject property over to the religious community Miricle
11   Island community.
12   4. I also signed an agreement to the covenants of the warranty deed, stating in part that
13   I would defend the title of the P
14

15
     5. After receiving an order from the state court quieting the title to subject property on
16

17
     office of Los Angeles, on June 16, 2016.
18
     6. After that time I have had no further contact or dealings with the property and do
19
     not, because I cannot, claim any rights or authority to such.
20
     7. I have not resided on subject property since August of 2016.
21
     8. In June of 2018, an unlawful detainer action was filed in the Long Beach State
22

23
     (See true copies of Minute Order attached hereto as Exhibit 6).
24
     9. I filed motions in an attempt to let the court know I was not the owner of subject
25

26
     property and did not live on the property. These failed. And the case went to trial.

27
     10. A trial was held on UD1 case, on October 28, 2019, in which Defendant was

28   denied possession of subject property because I was not the owner and made no claims

                                         VERIFIED COMPLAINT                    63
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 1   to the property, and it was discovered that they had no rights to the property over the
 2   legal title holder, Miricle Island ministry.
 3   11. This title matter needs further adjudication in this court which deals with
 4   complicated title issues such as this.
 5   12. We are seeking the court's intervention to restore Pastor Brena and MICg s (MI-
 6
     Property) rights and prevent further harm caused by Defendants wrongful and
 7
     malicious actions.
 8
         I declare under penalty of perjury under the laws of the State of California that the
 9   foregoing is true and correct to the best of my knowledge.
10

11   Date: 5/10/24                                         Respectfully submitted,
12
                                                            /s/ MS Blackwell
13                                                          MS Blackwell, in pro per
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                                      VERIFIED COMPLAINT                      64
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 1                             CERTIFICATE OF SERVICE
 2
     I hereby certify that on the 13th day of May, 2024, the foregoing documents: CIVIL
 3
     RIGHTS DECLARATORY & INJUNCTIVE RELIEF COMPLAINT will be filed
 4
     with the Clerk of the Central District Court, using the CM/ECF system.
 5

 6

 7
                                                 /s/ LB Brena
 8                                                Pastor LB Brena, Plaintiff Pro Se
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                                    VERIFIED COMPLAINT                     65
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 1

 2                                   EXHIBITS
 3
       EXHIBIT 1                                         Quiet Title Judgment
 4

 5
       EXHIBIT 2                                         Limited Case      1412

 6     EXHIBIT 3                                         Limited Case      1781
 7
       EXHIBIT 4                                         Warranty Deed
 8

 9     EXHIBIT 5                                         Deed Upon Sale
10
       EXHIBIT 6                                         Christoher Plantier Decl.
11
       EXHIBIT 7                                         Minute Orders
12

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                                 VERIFIED COMPLAINT                   66
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                                 VERIFIED COMPLAINT                  67
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Electronically FILED by Superior Court of California, County of Los Angeles on 06/20/2019 05:03 PM Sherri R. Carter, Executive Officer/Clerk of Court, by B. Monroe,Deputy Clerk
                    Case 2:24-cv-03998-FLA-E Document19LBUD01412
                                                      1 Filed 05/13/24 Page 71 of 146 Page ID #:71
                                        Assigned for all purposes to: Governor George Deukmejian Courthouse, Judicial Officer: Douglas Stern




               1      Nabeel M Zuberi, SBN 294600
                      MCCALLA RAYMER LEIBERT PIERCE, LLP
               2      301 E. Ocean Boulevard, Suite 1720
                      Long Beach, CA 90802
               3      Phone: (562) 983-5375
                      Facsimile: (562) 983-5375
               4
               5      Attorneys for Plaintiff,
                      WELLS FARGO BANK, N.A., AS TRUSTEE, ON BEHALF OF THE REGISTERED
               6      HOLDERS OF MORGAN STANLEY ABS CAPITAL I INC. TRUST 2005-WMC6,
                      MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2005-WMC6
               7
               8                                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
               9
                                                                FOR THE COUNTY OF LOS ANGELES
             10
             11       WELLS FARGO BANK, N.A., AS         ) CASE NO.:
             12       TRUSTEE, ON BEHALF OF THE          )
                      REGISTERED HOLDERS OF MORGAN       ) COMPLAINT FOR UNLAWFUL
             13       STANLEY ABS CAPITAL I INC. TRUST ) DETAINER FOLLOWING FORECLOSURE
                      2005-WMC6, MORTGAGE PASS-          ) SALE [CALIFORNIA CODE OF CIVIL
             14
                      THROUGH CERTIFICATES, SERIES 2005- ) PROCEDURE § 1161a]
             15       WMC6.                              )
                                                         ) Limited Civil Case
             16                      Plaintiff,          )
                                                         ) Amount Not Exceeding $10,000.00
             17
                             vs.                         )
             18                                          )
                      MICHELLE BLACKWELL and DOES 1      )
             19       through 20, Inclusive,             )
                                                         )
             20
                                     Defendants.         )
             21
             22           Plaintiff, for its complaint hereby alleges the following:

             23             1. Plaintiff WELLS FARGO BANK, N.A., AS TRUSTEE, ON BEHALF OF THE

             24       REGISTERED HOLDERS OF MORGAN STANLEY ABS CAPITAL I INC. TRUST 2005-

             25       WMC6,            MORTGAGE                  PASS-THROUGH                       CERTIFICATES,                  SERIES           2005-WMC6

             26       (“Plaintiff”), is the owner of record and entitled to possession of the real property located at

             27       2336 PASADENA AVE (MAIN), LONG BEACH, CALIFORNIA 90806 (“Property”). The

             28       Property is located in the above-referenced Judicial District and County.
                          2.     Plaintiff is an entity lawfully conducting business in California.

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                                                                       COMPLAINT FOR UNLAWFUL DETAINER
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1       3.   Defendants MICHELLE BLACKWELL and ALL UNKNOWN OCCUPANTS
2    (collectively “Defendants”) at all times herein mentioned resided in the State of California,
3    County of LOS ANGELES.
4       4.   Defendants, and each of them, are currently in possession of and occupying the above-
5    described premises.
6       5.   Defendants are the former trustors or holdover occupants of the former trustors.
7       6.   The true names and capacities, whether individual, corporate, associate or otherwise, of
8    the defendants named herein as Does 1-20, and each of them, are unknown to Plaintiff, who
9    therefore sues said defendants by their fictitious names, pursuant to Code of Civil Procedure §
10   474. Plaintiff will ask leave of the Court to amend its Complaint to include the true names and
11   capacities of said defendants when the identities have been ascertained.
12      7.   Plaintiff is the owner of and entitled to immediate possession of the Property which is
13   located at 2336 PASADENA AVE (MAIN), LONG BEACH, CALIFORNIA 90806, and
14   located within Los Angeles County and the jurisdictional boundaries of this Court.
15      8.   Plaintiff owns said land by virtue of a foreclosure sale duly held pursuant to the power
16   of sale under the Deed of Trust executed by Defendants or their predecessors.
17      9.   Defendants or their predecessors defaulted under the terms of the subject Deed of Trust
18   and underlying note, which was secured by the Property. Thereafter a Notice of Default and
19   Breach of Conditions of the Deed of Trust and Election to Sell the Property, in an effort to
20   satisfy the obligations thereby secured, was recorded in the Official Records of the County
21   Recorder of Los Angeles County, California.
22      10. After failure of Defendants or their predecessors to cure the default, a Trustee's Sale of
23   the Property was duly noticed as required under California Civil Code § 2924 et. seq.
24      11. At the time and place duly noticed for Trustee's Sale, the Property was sold to Plaintiff.
25   The Trustee's Deed Upon Sale was thereafter recorded in the Los Angeles County Recorder's
26   Office, thus duly perfecting Plaintiff’s title to the Property. A true and correct certified copy of
27   the Trustee's Deed Upon Sale is attached and incorporated hereto as Exhibit A.
28      12. On March 20, 2019, Defendants were served with a written notice requiring them and



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                                      COMPLAINT FOR UNLAWFUL DETAINER
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11   "All Persons in Possession" of the Property to quit and deliver up possession of the Property. A
22   true and correct copy of said Notice to Vacate is attached and incorporated hereto as Exhibit B.
33   A true and correct copy of the Proof of Service of Notice to Vacate is attached hereto as
44   Exhibit C.
55      13. Defendants have failed and refused to deliver possession of the Property after expiration
66   of the Notice to Vacate, as required by California Code of Civil Procedure § 1161a.
77      14. The Notice to Vacate expired on June 19, 2019, and as of the date of this Complaint,
88   defendants retain possession of the Property without Plaintiff's permission or consent.
99      15. The reasonable value of the use and occupancy of the Property is equal to an amount
10
10   according to proof at trial. Damage to the Plaintiff caused by Defendants’ unlawful detention
11
11   of the Property has accrued at such rate since June 19, 2019, and will continue to accrue until
12
12   the date of entry of judgment in the above-captioned action.
13
13      WHEREFORE, Plaintiff respectfully requests judgment against Defendants, and each of
14
14   them, as follows:
15
15      1.   Restitution and immediate possession of the Property;
16
16      2.   An order restoring possession of the Property to Plaintiff;
17
17      3.   Damages in an amount to be determined, according to proof at trial, at a daily rate from
18
18   June 19, 2019 until the date that Judgment;
19
19      4.   For costs of suit herein; and
20
20      5.   For such other and further relief as the Court deems necessary and proper.
21
21
       Dated: June 19, 2019                  McCalla Raymer Leibert Pierce, LLP
22
22
                                       By:
23
23                                           Nabeel M Zuberi
24
24                                           Attorneys for Plaintiff, Wells Fargo Bank, N.A., as
                                             Trustee, on behalf of the registered holders of Morgan
25
25                                           Stanley ABS Capital I Inc. Trust 2005-WMC6,
26                                           Mortgage Pass-Through Certificates, Series 2005-
26                                           WMC6
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                                                     -4-
                                      COMPLAINT FOR UNLAWFUL DETAINER
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1                                           VERIFICATION
2           I am an attorney duly licensed to practice in the State of California and am a member of

3    the law firm of McCalla Raymer Leibert Pierce, LLP (“MRLP”), counsel for Plaintiff Wells
4    Fargo Bank, N.A., as Trustee, on behalf of the registered holders of Morgan Stanley ABS
5    Capital I Inc. Trust 2005-WMC6, Mortgage Pass-Through Certificates, Series 2005-WMC6.

6    (“Plaintiff”) was unable to make this verification because it is absent from Los Angeles County
7    where my office is located. For that reason, I make this verification for and on behalf of

88   Plaintiff. I have read the foregoing Complaint for Unlawful Detainer and know its contents. I

99   am informed and believe, and on that ground allege that the matters stated therein are true.
10                        19th day of June 2019, at Long Beach, California.
            Executed this _____
10
11
11          I declare under penalty of perjury under the laws of the State of California that the
12
12   foregoing is true and correct.
13
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                                                                Nabeel M Zuberi
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                                      COMPLAINT FOR UNLAWFUL DETAINER
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            _____
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            _____
              B




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                             NOTICE TO ANY RENTERS LIVING AT:
                    2336 PASADENA AVE, LONG BEACH, CA 90806
         The attached notice means that your home was recently sold in foreclosure and the new owner
                                          plans to evict you.
       You should talk to a lawyer NOW to see what your rights are. You may receive court papers in a
few days. If your name is on the papers it may hurt your credit if you do not respond and simply move
out.

       Also, if you do not respond within five days of receiving the papers, even if you are not named in
the papers, you will likely lose any rights you may have. In some cases, you can respond without hurting
your credit. You should ask a lawyer about it.

       You may have the right to stay in your home for 90 days or longer, regardless of any deadlines
stated on any attached papers. In some cases and in some cities with a “just cause for eviction law,” you
may not have to move at all. But you must take the proper legal steps in order to protect your rights.

       State law permits former tenants to reclaim abandoned personal property left at the former
address of the tenant, subject to certain conditions. Your may or may not be able to reclaim property
without incurring additional costs, depending on the cost of storing the property and the length of time
before it is reclaimed. In general, these costs will be lower the sooner you contact your former landlord
after being notified that property belonging to you was left behind after you moved out.

How to Get Legal Help

       If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit
legal services program. You can locate these nonprofit groups at the California Legal Services Web site
(www.lawhelpcalifornia.org),       the      California      Courts      Online      Self-Help       Center
(www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association.
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                   NOTICE TO VACATE PREMISES LOCATED AT:
                    2336 PASADENA AVE, LONG BEACH, CA 90806

TO:
MICHELLE BLACKWELL AND ALL PERSONS IN POSSESSION OF AND WHO OCCUPY
THE REAL PROPERTY AT THE ABOVE ADDRESS:
THIS IS THE FIRST STEP IN A LAWSUIT AGAINST YOU. THE FAILURE TO VACATE
THE PREMISES AS SPECIFIED BELOW WILL RESULT IN A LAWSUIT BEING FILED
AGAINST YOU. A COURT JUDGMENT AGAINST YOU WILL BE RECORDED WITH
NATIONAL CREDIT REPORTING AGENCIES.
YOU ARE HEREBY NOTIFIED that your right to occupy the real property at the above address has
been terminated as the result of foreclosure sale of the real property by the trustee under a power of sale
contained in a Deed of Trust which appeared of record against the subject property.
                                                   NOTICE
NOTICE IS HEREBY GIVEN THAT YOU ARE REQUIRED TO VACATE THE PREMISES AND
DELIVER UP POSSESSION OF THE PREMISES TO THE UNDERSIGNED:
  (i)   Within THREE (3) DAYS after service of this Notice, in the event you are in
        possession of the premise and you are not a tenant or subtenant as described
        below; or
  (ii) Within NINETY (90) DAYS after service of this Notice, in the event you are a
       tenant or subtenant in possession of the rental housing unit sold in foreclosure.


In the event you fail to quit and deliver up possession of the real property you occupy at the above
address to the undersigned agent for the owner, within the relevant Notice Period specified above, you
will be deemed to be unlawfully detaining the premises, which will result in the commencement of court
proceedings against you, by the owner, to recover possession of the premises as well as court costs and
the reasonable rental value of the premises for each day of your continued occupancy following
expiration of the Notice Period set forth below.

If you claim to be the recipient of tenant based assistance governed by Section 8 of the United States
Housing Act of 1937 (42 USC § 1437), commonly referred to as the “Section 8 Housing Program”, then
you may be entitled to additional time in the property. Please contact our office and be prepared to
provide us with all necessary information regarding your participation in the Section 8 Housing
Program. If this information is verified, you will be required to vacate the premises within 90 days of the
service of this notice. Additionally, this document constitutes notice that this tenancy has been
terminated for good cause pursuant to 24 CFR § 982.310(d)(1) and (e)(1). This good cause termination
is based on the owner’s business and economic interest in the property and intent to sell.
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This Notice is authorized pursuant to the provisions of California Code of Civil Procedure §§ 1161a,
1161b and 1161c and 12 U.S.C. § 5220.



Dated: March 18, 2019                 MCCALLA RAYMER LEIBERT PIERCE, LLP




                                      ________________________________
                                      Nabeel M Zuberi
                                      301 E. Ocean Boulevard, Suite 1720
                                      Long Beach, CA 90802


                                      Attorneys for Owner, Wells Fargo Bank, N.A., as Trustee, on
                                      behalf of the registered holders of Morgan Stanley ABS Capital
                                      I Inc. Trust 2005-WMC6, Mortgage Pass-Through Certificates,
                                      Series 2005-WMC6




To discuss this Notice, please contact the above at (562) 983-5375 between the hours of 9:00 a.m. to
4:00 p.m., Monday through Friday.




                                        SUBJECT PROPERTY:
                    2336 PASADENA AVE, LONG BEACH, CA 90806

DISCLAIMER: Under the Servicemembers Civil Relief Act, 50 U.S.C. App. §§ 501 et seq., active
duty military servicemembers may have additional rights and protections. PLEASE NOTIFY OUR
OFFICE IMMEDIATELY if you or any other occupants in the property are active duty military. You
may also wish to contact a member of your Judge Advocate Corps.
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                           Long Beach, 90802

                           Wells Fargo Bank, N.A.

                           Michelle Blackwell,
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           Wells Fargo Bank, N.A.

           Blackwell
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                                               1:30 p.m.
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                                     Christopher T. Plantier
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